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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

ANTHONY CASTILLO SANCHEZ,    )
                             )
             Petitioner,     )
vs.                          )                             NO. CIV-10-1171-HE
                             )
ANITA TRAMMELL, Warden,      )
OKLAHOMA STATE PENITENTIARY, )
                             )
                         1
             Respondent.     )

                               MEMORANDUM OPINION

       Petitioner, Anthony Castillo Sanchez, a state court prisoner, has filed a petition for a

writ of habeas corpus seeking relief pursuant to 28 U.S.C. § 2254. Doc. 25.2 Petitioner

challenges the convictions entered against him in Cleveland County District Court Case

No. CF-2000-325. Tried by a jury in 2006, petitioner was found guilty of first degree

murder, first degree rape, and forcible anal sodomy. For the rape and sodomy offenses,

petitioner received an aggregate sentence of sixty years imprisonment and a $20,000 fine.

Petitioner was sentenced to death for the murder. In support of his death sentence, the jury

found three aggravating circumstances: (1) the murder was especially heinous, atrocious, or

cruel; (2) the murder was committed for the purpose of avoiding or preventing a lawful arrest

or prosecution; and (3) the existence of a probability that petitioner would commit criminal




       1
       Pursuant to Fed. R. Civ. P. 25(d), Anita Trammell, who currently serves as warden of the
Oklahoma State Penitentiary, is hereby substituted as the proper party respondent in this case.
       2
         Doc. 25 is actually the amended petition. The amended petition was filed to correct the
original petition, Doc. 23, which was inadvertently filed without the signature of counsel.
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acts of violence that would constitute a continuing threat to society (O.R. IV, 790-92;

O.R. V, 832-33, 898-902).

       Petitioner has presented twelve grounds for relief. Respondent has responded to the

petition and petitioner has replied. Docs. 25, 31, 33, and 41. In addition to his petition,

petitioner filed motions for the appointment of an investigator, discovery, and an evidentiary

hearing. Docs. 16, 24, and 32. All of these motions have previously been denied. Docs. 20,

42, and 43. After a thorough review of the entire state court record (which respondent has

provided), the pleadings filed in this case, and the applicable law, the court concludes that

petitioner is not entitled to habeas relief.

                                    I. Procedural History.

       Petitioner appealed his convictions and sentences to the Oklahoma Court of Criminal

Appeals (hereinafter “OCCA”). The OCCA affirmed in a published opinion. Sanchez v.

State, 223 P.3d 980 (Okla. Crim. App. 2009), cert. denied, ___ U.S. ___, 131 S.Ct.

326 (2010). Petitioner also filed a post-conviction application, which the OCCA denied in

an unpublished opinion. Sanchez v. State, No. PCD-2006-1011 (Okla. Crim. App. Apr. 19,

2010) (unpublished).

                                           II. Facts.

       In adjudicating petitioner’s direct appeal, the OCCA set forth a summary of the

presented evidence. Pursuant to 28 U.S.C. § 2254(e)(1), “a determination of a factual issue

made by a State court shall be presumed to be correct.” Although this presumption may be

rebutted by petitioner, the court finds that petitioner has not done so, and that in any event,

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the OCCA’s statement of the facts is an accurate recitation of the presented evidence. Thus,

as determined by the OCCA, the facts are as follows:

               Jewell Jean “Juli” Busken lived in the Dublin West Apartments on East
       Lindsey Street in Norman, near the University of Oklahoma, where she studied
       ballet. In the winter of 1996, she had completed her course requirements for
       graduation. Ms. Busken planned to return to her parent’s home in Arkansas
       and enroll in graduate school. She had packed most of her belongings earlier
       in the week. Her parents were to arrive in Norman on December 20, 1996, to
       collect her things in a U–Haul trailer and accompany her back to Arkansas.

               Ms. Busken spent the evening of December 19, 1996, visiting with her
       college friends, exchanging Christmas gifts and goodbyes. She had planned to
       give her friend, Megan Schreck, a ride to Will Rogers Airport early on the
       morning of December 20, so the two decided to stay up all night long.
       Ms. Busken and Ms. Schreck left Schreck’s apartment on West Lindsey Street
       and ate at the Kettle around 2:00 a.m., returning to the apartment around
       3:00 a.m. Ms. Busken fell asleep for a short while, and they headed toward the
       airport around 4:30 a.m. Around 5:00 a.m. on December 20, 1996, Ms. Busken
       dropped off her friend. She left Will Rogers Airport driving her red Eagle
       Summit, which bore an Arkansas license plate.

               Around 5:30 a.m., back at the Dublin West apartments where
       Ms. Busken lived, at least three people heard a woman scream in terror.
       William Alves, a Norman Police officer, lived at the apartments and worked
       off-duty security. When Alves heard the screaming, he went outside and
       looked, but saw nothing. Jackie Evans lived across the parking lot from
       Ms. Busken. She also heard a woman’s scream, and a man saying “just shut up
       and get in the car.” Ms. Evans described a car door opening, then closing, the
       sound of footsteps, and another car door opening and closing. She then heard
       the car start and quickly drive away. Norman Police officer Kyle Harris arrived
       at the apartments around 5:51 a.m. in response to a 911 call reporting the
       screams. He could find nothing suspicious at the apartment.

              Ryan James worked with Juli Busken at the OU Golf Course. They
       were close friends. Mr. James had plans to meet Ms. Busken for lunch on
       December 20, 1996. When he arrived at Ms. Busken’s apartment around
       11:00 a.m., he noticed her car was gone. Mr. James returned to work at the
       golf course. He checked Ms. Busken’s apartment again when he got off work
       around 4 p.m., hoping they would have dinner together, but she still had not

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returned home. Mr. James was worried about Ms. Busken and checked with
his grandparents to see if she had called or visited their home, as she often did.
She had not been there, either. Mr. James and his grandfather searched for
Ms. Busken, even driving to Will Rogers Airport trying to find her. Mr. James’
grandfather knew OU Police Chief Joe Lester. They contacted Chief Lester
early in the evening of December 20, 1996, to report that Ms. Busken was
missing. Juli Busken never returned.

         Randy Lankford saw something unusual lying along the shoreline of
Lake Stanley Draper around noon on December 20, 1996. He may have
persuaded himself it wasn’t a human body he had seen, but whatever it was
still troubled his mind after he returned home. Lankford returned to the lake
with his wife after dark that evening. Shining their lights down onto the shore,
the Lankfords believed they saw a body lying at the water’s edge. They
reported the matter to a nearby police station, and police soon descended on
the scene to investigate the body and preserve evidence. From the physical
description in a Missing Persons report originating from Norman concerning
a female student, Oklahoma City police quickly deduced they had found the
body of Juli Busken. Chief Joe Lester gave the awful news to Bud and Mary
Busken, who had arrived in Norman just a short time before, that the search for
their missing daughter was over. A long search for Juli Busken’s killer had
only begun.

       Ms. Busken’s body was clothed when she was found, but her jeans were
unbuttoned and unzipped, and her underwear was partially rolled down her
thighs. She was found lying face down, her head and shoulders in the shallow
freezing water, her hands bound behind her with black shoe laces. Her prized
opal and diamond ring, a gift from her parents, was missing from her finger
and has never been found. Crime scene technicians recovered a possible pubic
hair from her stomach when she was turned over. Investigators could see
Ms. Busken had been shot in the head.

       At the autopsy, the Medical Examiner observed that Ms. Busken’s nose
and forehead were scratched and bruised, and blood was in her left nostril.
Several oval shaped bruises were seen on her inner thigh. She was also bruised
in a small area near the labia, and a small scrape was found in the perianal
region. Fecal matter was smeared in an area on her buttocks. The Medical
Examiner preserved swabs of her oral, vaginal, and anal cavities for DNA
analysis. The death wound was a contact gunshot to the rear of the skull,
traversing the brain from back to front, left to right, and slightly upward before
coming to rest in the frontal area of the skull, causing multiple fractures and

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catastrophic brain injury. The Medical Examiner recovered the fatal bullet,
later identified by caliber as .22 Long Rifle. Subsequent ballistics analysis
showed the barrel of the weapon that fired the fatal bullet marked it with
sixteen lands and grooves and a right-hand twist.

       Police recovered several items of evidence from the crime scene at Lake
Stanley Draper, including a discarded pink leotard bearing the initials “JB,”
wiped with apparent fecal matter. A tissue smeared with apparent fecal matter
was also recovered. Investigators could see two sets of footprints leading to the
water’s edge, and one set leading away, which they marked and photographed.
From multiple cuttings of Ms. Busken’s garments, the anal swab obtained from
the body, and a pair of pajama bottoms recovered from Ms. Busken’s vehicle,
criminalists later identified the presence of human spermatozoa. Criminalists
eventually used the genetic material recovered from Ms. Busken’s panties and
the pink “JB” leotard to develop the DNA profile of an unknown suspect.

       Sightings of Juli Busken and her abductor reported by other witnesses
narrowed the timeframe within which Ms. Busken was kidnapped and killed.
Janice Keller saw a small red car like Juli Busken’s near Lake Stanley Draper
between 6:45 and 7:00 a.m. on the morning of December 20, 1996. Keller saw
a young man, she approximated between age twenty-five and thirty, driving
the car. In the passenger seat, she could see a woman who seemed somewhat
younger, with her hair pulled back and prominent bangs in front. In the young
woman’s remarkably large eyes and facial expression, Ms. Keller sensed the
presence of fear. She also noticed how the male driver looked angry.
Ms. Keller contacted police about her sighting after hearing of the Juli Busken
murder, but was not interviewed until two years later. She provided police with
her own profile drawing of the man she saw, and helped develop a composite
drawing admitted at trial.

        David Kill was on his way home from a night shift at Tinker Air Force
Base, driving back toward Norman that morning around 7:10 to 7:15 a.m. He
encountered a red compact car bearing an Arkansas license plate driving away
from Lake Stanley Draper. A male driver, alone in the car, cut off Mr. Kill in
traffic and seemed not to notice he was there. Mr. Kill was incensed by the
man’s driving and chased the car back to Norman at high speed. He testified
that despite his aggressive pursuit of the car, the driver still seemed oblivious
to him. He parted with the red car when he turned on Alameda Street, but
watched it continue south toward Lindsey Street. After seeing a news report
about Ms. Busken’s disappearance, Mr. Kill realized he had seen her car and
called Oklahoma City Police. Kill also gave a physical description of the driver

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he had seen and helped develop a composite drawing, also admitted as
evidence.

        Late in the evening of December 20, 1996, OU Police found Juli
Busken’s red Eagle Summit parked just across the street from the Dublin West
Apartments, where the screams were heard early that morning. A pair of
pajama bottoms recovered from the car were stained with semen, from which
criminalists later isolated a sperm fraction and developed a partial DNA
profile. Police also photographed an impression of a person’s buttocks
imprinted on the exterior panel of the car. A cell phone, a CD player, and a
radar detector were missing from the car. Records of activity from
Ms. Busken’s missing cell phone showed that a call was placed on
December 21, 1996, to a number investigators later associated with
[petitioner’s] former girlfriend. Calls were also placed from Ms. Busken’s
phone after her murder to two numbers (both in the form 447–68xx) similar to
phone numbers later associated with friends of [petitioner].

        In 2000, the State of Oklahoma charged an unknown suspect with the
kidnapping, sexual assault, and murder of Juli Busken, identifying the
defendant only by the DNA profile developed from crime scene evidence. In
the months and years after her murder, investigators contacted and interviewed
virtually every person they could find who had ever known, or might have had
reason or opportunity to harm, Juli Busken. Detectives asked for DNA samples
from almost 200 people to compare against the suspect DNA profile and other
serology evidence. Throughout the entire investigation, prior to July, 2004,
[petitioner] was never interviewed, contacted, or considered a suspect in
Ms. Busken’s murder. Indeed, Ms. Busken’s closest friends testified at trial
they had never seen or heard of [petitioner] as a friend or acquaintance of Juli
Busken.

       [Petitioner] went to prison in 2002 for a second degree burglary
committed the previous year. While serving his sentence, the Oklahoma
Department of Corrections obtained his tissue sample for DNA analysis, as
required by statute. The Oklahoma State Bureau of Investigation (OSBI) then
developed a DNA profile from the sample and placed it into the OSBI’s
Combined DNA Index System (CODIS). In July, 2004, OSBI Criminalist Ken
Neeland notified a cold case detective in the Oklahoma City Police
Department that [petitioner’s] DNA profile had generated a hit on the
unknown DNA profile associated with the Juli Busken murder.



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        Police obtained a search warrant and a new sample of [petitioner’s]
DNA for further comparisons. The State presented evidence at trial that
[petitioner’s] DNA matched the DNA profile generated from the sperm cell
fraction isolated on Ms. Busken’s panties; and also matched the sperm cell
fraction isolated from the stained pink leotard discarded at the crime scene.
The matches corresponded to [petitioner’s] known DNA at all sixteen genetic
loci tested. The State’s DNA expert characterized the probability of a random
DNA match on the Busken evidence with an unrelated individual other than
[petitioner] as 1 in 200.7 trillion Caucasians, 1 in 20.45 quadrillion African
Americans, and 1 in 94.07 trillion Southwest Hispanics. [Petitioner] also could
not be excluded as the donor of a DNA mixture isolated from epithelial cell
fractions on the panties and leotard. DNA comparisons on the spermatozoa
recovered from the anal swab and the pajama bottoms from the car were
inconclusive.

        [Petitioner’s] former girlfriend, Christin Setzer, testified that between
1994 and 1996 she lived with [petitioner] in a residence on Drake Drive in
southeast Norman, about one mile from Juli Busken’s apartment. Ms. Setzer
and [petitioner] had a child in May, 1997, but later separated. When police
interviewed Ms. Setzer years after the Busken murder, she described an
incident when shots were fired within the Drake Drive residence. Only
[petitioner] and his step-father [sic] were in the room where shots were fired.
Ms. Setzer told police she later saw bullet holes in the east wall of the room.
Police obtained a search warrant for the residence in 2004, and dismantled the
walls looking for evidence of these shots and any potential projectiles. They
located a linear defect in the lumber of a wall stud consistent with a bullet
strike, but were unable to find a projectile. Police also found a piece of foam
which bore marks consistent with a bullet strike. After police collected these
items and left the scene, the owner of the residence vacuumed the area of the
wall which police had dismantled. Searching the contents of the vacuum bag
later in his garage, he located an item later identified as a .22 Long Rifle
projectile. The Drake Drive bullet was marked ballistically with sixteen lands
and grooves and a right-hand twist, and thus shared the same caliber and
general barrel markings as the .22 bullet that killed Juli Busken. Testimony
from one of [petitioner’s] friends established that [petitioner] was in possession
of a small .25 caliber pistol in 1994 and 1995. The State impeached this
witness with his prior statement that the pistol could have been a .22 or
.25 caliber. Attempts to positively identify the Drake Drive bullet and the
bullet recovered from Juli Busken as being fired from the same weapon proved
inconclusive.


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Sanchez, 223 P.3d at 987-90.

                                  III. Standard of Review.

       A.     Exhaustion as a Preliminary Consideration.

       The exhaustion doctrine is a matter of comity. It provides that before a federal court

can grant habeas relief to a state prisoner, it must first determine that he has exhausted all of

his state court remedies. As acknowledged in Coleman v. Thompson, 501 U.S. 722,

731 (1991), “in a federal system, the States should have the first opportunity to address and

correct alleged violations of state prisoner’s federal rights.” While the exhaustion doctrine

has long been a part of habeas jurisprudence, it is now codified in 28 U.S.C. § 2254(b).

Pursuant to 28 U.S.C. § 2254(b)(2), “[a]n application for a writ of habeas corpus may be

denied on the merits, notwithstanding the failure of the applicant to exhaust the remedies

available in the courts of the State.”

       B.     Procedural Bar.

       Beyond the issue of exhaustion, a federal habeas court must also examine the state

court’s resolution of the presented claim. “It is well established that federal courts will not

review questions of federal law presented in a habeas petition when the state court’s decision

rests upon a state-law ground that ‘is independent of the federal question and adequate to

support the judgment.’” Cone v. Bell, 556 U.S. 449, 465 (2009) (quoting Coleman, 501 U.S.

at 729). “The doctrine applies to bar federal habeas when a state court declined to address

a prisoner’s federal claims because the prisoner had failed to meet a state procedural

requirement.” Coleman, 501 U.S. at 729-30.

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       C.      Merits.

       In accordance with the Antiterrorism and Effective Death Penalty Act of

1996 (hereinafter “AEDPA”), the court’s authority to grant habeas corpus relief to state

prisoners is limited. When a state prisoner presents a claim to this court, the merits of which

have been addressed in state court proceedings, the court cannot grant habeas corpus relief

upon the claim unless it determines that the state court proceedings resulted in a decision

(1) “that was contrary to, or involved an unreasonable application of, clearly established

Federal law, as determined by the Supreme Court of the United States” or (2) “that was based

on an unreasonable determination of the facts in light of the evidence presented in the State

court proceeding.” 28 U.S.C. § 2254(d).

       The focus of Section 2254(d) is on the reasonableness of the state court’s decision.

To obtain relief, a petitioner must show that the state court decision is “objectively

unreasonable.” Williams v. Taylor, 529 U.S. 362, 409 (2000) (O’Connor, J., concurring but

delivering the opinion of the Court with respect to Part II). See Cullen v. Pinholster,

563 U.S. ___, 131 S.Ct. 1388, 1398 (2011) (acknowledging that Section 2254(d) places a

difficult burden of proof on the petitioner). “The question under AEDPA is not whether a

federal court believes the state court’s determination was incorrect but whether that

determination was unreasonable—a substantially higher threshold.” Schriro v. Landrigan,

550 U.S. 465, 473 (2007).

       “Under § 2254(d), a habeas court must determine what arguments or theories

supported . . . the state court’s decision; and then it must ask whether it is possible fairminded

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jurists could disagree that those arguments or theories are inconsistent with the holding in a

prior decision of [the Supreme] Court.” Harrington v. Richter, 562 U.S. 86, ___, 131 S.Ct.

770, 786 (2011). Relief is warranted only “where there is no possibility fairminded jurists

could disagree that the state court’s decision conflicts with [the Supreme Court’s]

precedents.” Id. The deference embodied in “Section 2254(d) reflects the view that habeas

corpus is a ‘guard against extreme malfunctions in the state criminal justice systems,’ not a

substitute for ordinary error correction through appeal.” Id. (citation omitted).

                                       IV. Analysis.

       A.     Ground I: Sufficiency of the Evidence.

       In his first ground for relief, petitioner contends that none of his convictions are

supported by constitutionally sufficient evidence. On direct appeal, petitioner presented

sufficiency challenges to his convictions for murder and rape. The OCCA addressed the

merits of these challenges and denied relief. Sanchez, 223 P.3d at 1002-03. Petitioner

acknowledges that he has never pursued a state court sufficiency challenge to his sodomy

conviction. Reply, pp. 1, 4-6. Respondent asserts that petitioner’s first ground should be

denied because petitioner has not shown that the OCCA’s decision on direct appeal is

contrary to or an unreasonable application of Jackson v. Virginia, 443 U.S. 307 (1979).

Respondent additionally asserts that petitioner’s challenge to his sodomy conviction should

be procedurally barred.

       Jackson sets forth the familiar standard of review for sufficiency of the evidence

claims: “the relevant question is whether, after viewing the evidence in the light most

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favorable to the prosecution, any rational trier of fact could have found the essential elements

of the crime beyond a reasonable doubt.” Jackson, 443 U.S. at 319. As the Jackson Court

noted,

         [t]his familiar standard gives full play to the responsibility of the trier of fact
         fairly to resolve conflicts in the testimony, to weigh the evidence, and to draw
         reasonable inferences from basic facts to ultimate facts. Once a defendant has
         been found guilty of the crime charged, the factfinder’s role as weigher of the
         evidence is preserved through a legal conclusion that upon judicial review all
         of the evidence is to be considered in the light most favorable to the
         prosecution. The criterion thus impinges upon “jury” discretion only to the
         extent necessary to guarantee the fundamental protection of due process of
         law.

Id. (footnotes omitted). Judicial review, therefore, is “‘sharply limited’” and a reviewing

court “must accept the jury’s determination as long as it is within the bounds of reason.”

Boltz v. Mullin, 415 F.3d 1215, 1232 (10th Cir. 2005) (citations omitted). “[T]he Jackson

inquiry does not focus on whether the trier of fact made the correct guilt . . . determination,

but rather whether it made a rational decision to convict . . . .” Herrera v. Collins, 506 U.S.

390, 402 (1993). See also Jackson, 443 U.S. at 318-19 (the question is not whether the

reviewing court itself believes that the evidence is sufficient to establish a defendant’s guilt

beyond a reasonable doubt). Thus, “a federal habeas corpus court faced with a record of

historical facts that supports conflicting inferences must presume–even if it does not

affirmatively appear in the record–that the trier of fact resolved any such conflicts in favor

of the prosecution, and must defer to that resolution.” Jackson, 443 U.S. at 326.

         In addition to the deference afforded a jury’s verdict by Jackson, the AEDPA adds

another layer of deference to the court’s review of a sufficiency claim.

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               The opinion of the Court in Jackson . . . makes clear that it is the
       responsibility of the jury–not the court–to decide what conclusions should be
       drawn from evidence admitted at trial. A reviewing court may set aside the
       jury’s verdict on the ground of insufficient evidence only if no rational trier of
       fact could have agreed with the jury. What is more, a federal court may not
       overturn a state court decision rejecting a sufficiency of the evidence challenge
       simply because the federal court disagrees with the state court. The federal
       court instead may do so only if the state court decision was “objectively
       unreasonable.”

Cavazos v. Smith, 565 U.S. ___, 132 S.Ct. 2, 3-4 (2011) (per curiam) (citation omitted). See

also Parker v. Matthews, 567 U.S. ___, 132 S.Ct. 2148, 2152 (2012) (referring to habeas

review of sufficiency claims as a “twice-deferential standard”); Coleman v. Johnson,

566 U.S. ___, 132 S.Ct. 2060, 2062 (2012) (per curiam) (noting that Jackson claims “are

subject to two layers of judicial deference”).

       In denying petitioner relief on direct appeal, the OCCA applied the Jackson standard

and found that “[t]he evidence presented at trial tends to show that [petitioner] forced

Ms. Busken into her own car around 5:30 a.m., sexually assaulted her in an unknown

location, and murdered her on the shoreline of Lake Stanley Draper around 7:00 a.m on

December 20, 1996.” Sanchez, 223 P.3d at 1002. In response to petitioner’s contention that

the presented evidence did not place him “at the scene of the murder or in Ms. Busken’s

car[,]” the OCCA noted at least “[t]hree strands of evidence [which] contradict[ed]

[petitioner’s] major premise . . . .”

       First, [petitioner’s] DNA matched the unknown DNA isolated from sperm
       fractions recovered from Ms. Busken’s panties, and the unknown DNA from
       the pink leotard found discarded at the crime scene. Police also identified
       human sperm from stains found on pajama bottoms recovered from
       Ms. Busken’s car. These facts permit the logical inference that the sperm on

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       the pajama bottoms in Ms. Busken’s car is also [petitioner’s], despite
       inconclusive DNA results on the pajama bottoms. Second, records of activity
       on Ms. Busken’s missing cell phone show a call placed to a number which
       investigators eventually associated with [petitioner’s] former girlfriend, over
       thirty hours after the Busken murder. The logical inference is that [petitioner]
       was in possession of Ms. Busken’s phone, and he got the phone from her car,
       where she usually left it. Finally, the shoe impressions . . . [at the scene were]
       consistent with a pair of Nike shoes owned by [petitioner], [and] tend to
       establish his presence where Ms. Busken was murdered. This direct and
       circumstantial evidence is sufficient to support the jury’s finding that
       [petitioner] sexually assaulted and murdered Juli Busken.

Id.

       “DNA testing has an unparalleled ability . . . to identify the guilty.” District

Attorney’s Office for Third Judicial Dist. v. Osborne, 557 U.S. 52, 55 (2009). “It is now

often possible to determine whether a biological tissue matches a suspect with near

certainty.” Id. at 62. In the present case, petitioner was connected to Ms. Busken’s murder

through a near certain match of his DNA to sperm cells found in the panties Ms. Busken was

wearing when her body was found and in her ballet leotard which was found at the crime

scene as well. Of the sixteen genetic loci tested, petitioner’s DNA matched at every

one (State’s Exhibit 106). “The State’s DNA expert characterized the probability of a

random DNA match on the Busken evidence with an unrelated individual other than

[petitioner] as 1 in 200.7 trillion Caucasians, 1 in 20.45 quadrillion African Americans, and

1 in 94.07 trillion Southwest Hispanics.” Sanchez, 223 P.3d at 989-90.

       Despite the strength of the DNA evidence, petitioner argues that the state’s evidence

fails to show that he was the perpetrator. Petitioner argues alleged weaknesses in the

presented evidence, and he downplays the “[p]urported corroborating evidence” found by the

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OCCA. Petitioner even implicates his own father by claiming that the composite drawings

prepared by the police in the course of the investigation look more like his father than him.

Petition, pp. 6-12. In response to these arguments, respondent contends that petitioner

completely ignores the highly deferential posture this court must take in reviewing a

sufficiency of the evidence claim. Applying the mandated double deference, Jackson

deference to the jury’s determination and AEDPA deference to the OCCA’s direct appeal

decision, respondent asserts that petitioner’s sufficiency challenges to his murder and rape

convictions must be denied. The court agrees.

       In addition to the DNA evidence, the OCCA specifically found that petitioner was

connected to Ms. Busken through two additional strands of evidence. Sanchez, 223 P.3d at

1002. One involved Ms. Busken’s cell phone. When the police recovered Ms. Busken’s

car, her cell phone was missing. A day after her murder, Ms. Busken’s cell phone was used

to call a number associated with one of petitioner’s ex-girlfriends (J. Tr. XI, 2660-61; State’s

Exhibits 120 and 141). Id. at 989, 1002.3 Second, shoeprints were left by the perpetrator at

the crime scene. Id. at 1002. With respect to this evidence, the OCCA noted as follows:

       Investigators observed and photographed two pairs of shoe prints in the soil
       leading to where Juli Busken’s body was found. One pair of shoe prints

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           Petitioner incorrectly faults the OCCA for misstating the evidence regarding this call.
Petition, pp. 3, 10. The record clearly shows that Ms. Busken’s phone was used after her death to
call 447-6120 and evidence was presented that this number was associated with Melanie Crain, one
of petitioner’s ex-girlfriends. In addition to this call, evidence was also presented that another call
was placed from Ms. Busken’s cell phone after her death to the number 447-6852. Although this
number belonged to Robert Bonner, a man who did not know petitioner or Ms. Busken, the evidence
showed that petitioner had two friends with similar numbers, Michelle Beyer, 447-6883, and Dale
Spurlin, 447-6807 (J. Tr. XI, 2615, 2617, 2660-61; State’s Exhibits 120 and 141).

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       correlated to hiking boots worn by Ms. Busken. The other pair of shoe prints
       led down to the killing scene and then back toward the road. Police compared
       photographs of these prints to a variety of shoes and came to believe the soles
       were similar to the Nike Air Max 2. Photographs of the questioned shoe print
       were admitted at trial, along with inked imprints and acetate overlays of the
       Nike Air Max 2 shoes provided by the Nike Corporation. The State then
       presented testimony from [petitioner’s] ex-girlfriend, Christin Setzer, who read
       to the jury an October 14, 1996, entry from her personal calendar indicating
       that she and [petitioner] had purchased matching Nike shoes that day.

Id. at 999-1000.

       Beyond the evidence of petitioner’s DNA, the use of Ms. Busken’s cell phone after

her death, and the shoeprints found at the scene, the jury received additional circumstantial

evidence as well. As detailed by the OCCA in its determination of the facts, the state also

presented evidence that (1) petitioner lived within a mile of Ms. Busken’s apartment (and

within a mile of where her car4 was found), id. at 989, 990; (2) when Ms. Busken was

abducted around 5:30 a.m., only one man’s voice was heard telling her to shut up and get in

the car, and the sounds of the car doors opening and closing indicated that Ms. Busken had

only one abductor, id. at 987; (3) between 6:45 and 7:00 a.m., a man was seen driving

Ms. Busken’s car with Ms. Busken in the passenger seat near Lake Stanley Draper, id. at

988-89; (4) around 7:15 a.m., a man was seen driving Ms. Busken’s car away from Lake

Stanley Draper, id. at 989; and (5) a .22 Long Rifle bullet, with sixteen lands and grooves

and a right-hand twist, was recovered from Ms. Busken’s skull, and a bullet with these same




       4
       On the driver’s side floorboard, there was reddish dirt and sand, which was not found
anywhere else in the car’s interior (J. Tr. IX, 2261).

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characteristics was found at the residence petitioner occupied at the time of Ms. Busken’s

murder, id. at 990.5

       From all of the presented evidence, the court concludes that the OCCA did not act

unreasonably with respect to its application of Jackson and its upholding of the jury’s

determinations of guilt with respect to petitioner’s convictions for murder and rape. While

petitioner seeks to minimize the relevance of the presence of his semen in Ms. Busken’s

panties and on her ballet leotard, this evidence was more than just evidence of association

with Ms. Busken.6 As Ms. Busken’s closest friends testified, Ms. Busken had no relationship



       5
          The state also presented evidence that petitioner possessed a small caliber pistol in the
year or two prior to the murder. There was a question as to whether the pistol was a .22 or a .25
caliber. Sanchez, 223 P.3d at 990.
       6
           In arguing that his contact with Ms. Busken is insufficient to support his convictions,
petitioner compares his case to three other cases where the evidence was found constitutionally
insufficient. Petition, pp. 12-19. None of these cases are persuasive. The first case,
Sanders/Miller v. Logan, 710 F.2d 645 (10th Cir. 1983), is not only a pre-AEDPA case, but its facts
concern the criminal liability of the driver of a car when her co-defendant shot and killed the
convenience store clerk in the commission of a robbery. In that case, because the driver was not
charged with felony murder but with premeditated murder, the court found the evidence insufficient
to support her conviction. The other two cases, United States v. Bonner, 648 F.3d 209 (4th Cir.
2011), and O’Laughlin v. O’Brien, 568 F.3d 287 (1st Cir. 2009), are somewhat relevant, but clearly
distinguishable. In Bonner, a Subway restaurant was robbed by two concealed assailants. After
the robbery, Bonner’s wallet was found in the alleged getaway car along with a hat which was worn
by one of the robbers. The hat had multiple DNA matches, one of which was Bonner; however,
scientific analysis could not show who last wore the hat. Applying de novo review, Bonner’s
convictions were overturned due to insufficient identity evidence placing him at the scene of the
robbery. In O’Laughlin, the victim was brutally beaten resulting in an extensive amount of blood
at the scene. In finding a lack of evidence supporting O’Laughlin’s convictions, the court noted the
lack of physical or DNA evidence linking him to the crimes. “Considering the large amount of
blood, it is difficult to fathom how O’Laughlin was able to avoid having any blood or other DNA
evidence connect him to [the victim].” O’Laughlin, 568 F.3d at 304. As discussed herein, unlike
Bonner and O’Laughlin, petitioner was connected to the crimes against Ms. Busken by strong
identity evidence–his semen in her panties.

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with petitioner as a friend, an acquaintance, or otherwise. Sanchez, 223 P.3d at 989. Yet,

the presence of his semen clearly shows that he7 had intimate contact with her.8 The

evidence also supports the conclusion that the crimes against Ms. Busken were committed

by a sole perpetrator. In addition to the sounds heard at the apartment complex and the

reddish dirt and sand appearing only on the driver’s side floorboard, Ms. Busken was seen

being driven by a man who made no attempt to conceal his identity. The jury could have

rationally determined that after sexually assaulting her, petitioner killed Ms. Busken to

prevent her from identifying him. Then, after the murder, the fact that Ms. Busken’s cell

phone was used to call petitioner’s ex-girlfriend is more than just a coincidence. All of this

evidence–the DNA, the cell phone usage, the shoeprints, the bullets, and the sole perpetrator

evidence–clearly supports the jury’s verdicts and the OCCA’s denial of relief with respect

to petitioner’s murder and rape convictions.

       Regarding his sodomy conviction, if petitioner were to return to state court to exhaust

this claim now, there is no doubt that it would be procedurally barred due to petitioner’s

failure to raise it on direct appeal or in his first post-conviction application. Nevertheless,

the court finds that this claim is more easily disposed of on the merits. See 28 U.S.C.

§ 2254(b)(2) (“An application for a writ of habeas corpus may be denied on the merits,



       7
          The state’s DNA expert testified that petitioner’s DNA would be a combination of his
parents’ DNA. Thus, while petitioner and his father would have common alleles, their DNA would
not be the same (J. Tr. XII, 2750-51).
       8
         Petitioner has never claimed to have a relationship with Ms. Busken nor has he offered
any explanation as to why his semen was present at the crime scene.

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notwithstanding the failure of the applicant to exhaust the remedies available in the courts

of the State.”); Snow v. Sirmons, 474 F.3d 693, 717 (10th Cir. 2007) (“We can avoid

deciding procedural bar questions where claims can readily be dismissed on the merits.”).

Petitioner’s challenges here to the sufficiency of the evidence to support his convictions are

all based on a single premise–that the evidence did not show that he was the perpetrator. For

the reasons set forth above, the court finds that petitioner has not shown that his sodomy

conviction lacks constitutional support. The same evidence that supports his convictions for

murder and rape is applicable to the sodomy conviction. Based on the presented evidence,

viewed in light most favorable to the state, the court concludes that “any rational trier of fact

could have found the essential elements of [sodomy] beyond a reasonable doubt.” Jackson,

443 U.S. at 319. Accordingly, petitioner’s Ground I is denied in its entirety.

       B.      Ground II: Voir Dire.

       In Ground II, petitioner claims that he was denied his right to “a full and fair

examination of prospective jurors regarding their opinions on the death penalty.” Petition,

p. 21. Petitioner raised this claim on direct appeal, but the OCCA denied relief. Sanchez,

223 P.3d at 995-97. Claiming that the OCCA’s determination is contrary to or an

unreasonable application of the Supreme Court’s decisions in Morgan v. Illinois, 504 U.S.

719 (1992), and Wainwright v. Witt, 469 U.S. 412 (1985),9 petitioner asserts that he is

       9
         Citing general Supreme Court authority, petitioner additionally contends that he was
denied the “heightened reliability” afforded a capital defendant. Petition, p. 29 (citing Lockett v.
Ohio,438 U.S. 586 (1978); Reply, p. 10 (citing Woodson v. North Carolina, 428 U.S. 280 (1976)).
Because both Morgan and Wainwright specifically address a capital defendant’s right to an
impartial jury, the concept of heightened reliability is inherently subsumed therein, and the court

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entitled to relief. In light of the deference afforded the OCCA’s decision, respondent

contends that relief must be denied.

       “Capital defendants have the right to be sentenced by an impartial jury.” Uttecht v.

Brown, 551 U.S. 1, 22 (2007). “[D]ue process alone has long demanded that, if a jury is to

be provided the defendant, regardless of whether the Sixth Amendment requires it, the jury

must stand impartial and indifferent to the extent commanded by the Sixth Amendment.”

Morgan, 504 U.S. at 727. “[P]art of the guarantee of a defendant’s right to an impartial jury

is an adequate voir dire to identify unqualified jurors.” Id. at 729. See Wilson v. Sirmons,

536 F.3d 1064, 1098 (10th Cir. 2008) (citing Morgan).

       An impartial juror in the capital setting is one who, despite his or her views on capital

punishment, can follow the trial court’s instructions. Therefore, if a “juror’s views would

prevent or substantially impair the performance of his duties as a juror in accordance with

the instructions and his oath[,]” he should be removed for cause. Wainwright, 469 U.S. at

424 (internal citations omitted). “Any juror who states that he or she will automatically vote

for the death penalty . . . is announcing an intention not to follow the instructions” and is

unqualified to serve on a capital jury. Morgan, 504 U.S. at 738.

       The crux of petitioner’s complaint is how the trial court responded to confusion

expressed by some of the prospective jurors to the question regarding whether they would




need not address this additional contention separately.

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automatically impose the death penalty.10 Petitioner contends that the trial court’s attempts

at clarification “only made matters worse.” Petition, p. 27. Asserting that the trial court’s

follow-up questions were both “inadequate and misleading,” id. at 29, petitioner argues that

“the trial judge improperly steered prospective jurors away from candor,” which resulted in

“a tribunal ‘uncommonly willing to condemn [[him]] to die. . . .’” Id. at 28 (quoting

Witherspoon v. Illinois, 391 U.S. 510, 518, 521 (1968)).

       In denying petitioner relief, the OCCA first noted the circumstances related to

petitioner’s claim.

       Prior to jury selection, prospective jurors filled out extensive questionnaires
       and returned them to the Court. Counsel had the benefit of these questionnaires
       when conducting individual voir dire. The District Court permitted individual,
       sequestered voir dire with every prospective juror, followed by a general voir
       dire examination in open court. The entire jury selection in this case consumed
       several days of court time and the first 1,600 pages of trial transcript. The State
       exercised eight peremptory challenges against prospective jurors and waived
       its ninth. [Petitioner] exercised nine peremptory challenges against prospective
       jurors. The parties each exercised one peremptory challenge against the
       prospective alternates. [Petitioner] did not request additional peremptory
       challenges when his nine were exhausted, nor did he allege that he was forced,
       over objection, to keep an unacceptable juror.

Sanchez, 223 P.3d at 995. Then, after setting forth a painstaking review of the process

employed by the trial court, the OCCA held as follows:

              A review of the entire voir dire shows that the District Court could
       readily distinguish between the prospective jurors who were initially befuddled
       by the automatic death penalty question and those irrevocably committed to


       10
         The automatic death penalty question asks, “If you find beyond a reasonable doubt that
the defendant is guilty of murder in the first degree, will you automatically impose the penalty of
death?” Sanchez, 223 P.3d at 995.

                                                20
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imposing the death penalty for murder. The District Court properly
disqualified several prospective jurors who would automatically impose a
death sentence in the event of a first degree murder conviction. The District
Court also permitted additional, individual voir dire by counsel on these
subjects. These voir dire questions cast additional light on prospective jurors’
attitudes about capital punishment. The prosecutor quizzed jurors about how
they would vote in a death penalty referendum. Defense counsel’s questions
ensured that prospective jurors understood no particular punishment was
favored by the law more than another. On the whole, voir dire provided the
Court and counsel with a wealth of information about prospective jurors’
attitudes on the issue of capital punishment.

        The purpose of voir dire examination is to ascertain whether there are
grounds to challenge prospective jurors for cause and to permit the intelligent
use of peremptory challenges. The manner and extent of voir dire lies within
the District Court’s discretion. The District Court may properly restrict
questions that are repetitive, irrelevant or regard legal issues upon which the
trial court will instruct the jury. There is no abuse of discretion as long as the
voir dire examination affords the defendant a jury free of outside influence,
bias or personal interest. Young v. State, 2000 OK CR 17, ¶ 19, 12 P.3d 20,
31–32 (and cases cited). A prospective capital juror should be excused for
cause when the juror’s views on capital punishment would “prevent or
substantially impair the performance of his duties as a juror in accordance with
his instruction and his oath.” Wainwright v. Witt, 469 U.S. 412, 424, 105 S.Ct.
844, 852, 83 L.Ed.2d 841 (1985). Due process of law requires that a
prospective juror be willing to consider all the penalties provided by law and
not be irrevocably committed to a particular punishment before the trial
begins. Hain v. State, 1996 OK CR 26, ¶ 21, 919 P.2d 1130, 1138. Morgan v.
Illinois, supra, thus guarantees a capital defendant’s right to inquire whether
a prospective juror is irrevocably committed to imposing a death sentence.

       While this case shows that the questions put to prospective jurors in a
death penalty voir dire can be confusing to laypersons, the District Court’s
careful and repeated inquiries about each juror’s qualifications sufficiently
protected [petitioner’s] rights to identify unqualified jurors and intelligently
exercise peremptory challenges. Somewhat contrary to [petitioner’s]
suggestions on appeal, defense counsel at trial remarked that when a
prospective juror’s contradictory responses to the automatic death penalty
question suggested a misunderstanding, “[t]he Court has, upon further inquiry,
cleared up any of the confusion.” (emphasis added). That is a fair assessment
of the proceedings before us. Further, [petitioner] sought no additional

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       peremptory challenges and identified no juror on the final panel who was
       unacceptable to him, and thus cannot show prejudice from the District Court’s
       alleged errors. Gilbert v. State, 1997 OK CR 71, ¶ 32, 951 P.2d 98, 109. No
       relief is warranted.

Sanchez, 223 P.3d at 997.

       The court concludes that petitioner has not shown that this decision by the OCCA is

contrary to or an unreasonable application of Supreme Court law, especially in light of the

AEDPA deference that this court must afford it. In denying petitioner relief, the OCCA

expressly applied both Morgan and Wainwright. It clearly acknowledged the appropriate

standard for who qualifies as an acceptable capital juror, as well as petitioner’s right to

inquire of prospective jurors in order to assess their ability to serve. Although petitioner

faults the trial court’s efforts and use of follow-up questions to clear up any confusion a

prospective juror may have had, it was not unreasonable for the OCCA to defer to the trial

court on this issue. “[B]ecause determinations of juror bias cannot be reduced to question-

and-answer sessions[,]” the printed record cannot fully capture the qualification assessment.

Wainwright, 469 U.S. at 424-26, 434-35. “Deference to the trial court is appropriate because

it is in a position to assess the demeanor of the venire, and of the individuals who compose

it, a factor of critical importance in assessing the attitude and qualifications of potential

jurors.” Uttecht, 551 U.S. at 9.

       In addition, the court is in agreement with the OCCA that even if the trial court’s best

efforts fell short in some respects, petitioner has not shown that he was denied his right to an

impartial jury. Unlike the circumstances in Witherspoon, petitioner cannot show that his jury


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pool was “[c]ulled of all who harbor[ed] doubts about the wisdom of capital punishment–of

all who would be reluctant to pronounce the extreme penalty” or that his jury was “organized

to return a verdict of death.” Witherspoon, 391 U.S. at 520, 521. Of the twelve jurors who

actually sat on petitioner’s jury and decided petitioner’s punishment,11 the record reflects as

follows:

       •        Two-thirds (Wright, Webb, Parish, Masopust, McLaughlin, Davis,
                Causey, and Rakestraw) exhibited absolutely no confusion about the
                automatic death penalty question and stated that they could consider all
                three punishment options. Four of these jurors (McLaughlin, Davis,
                Causey, and Rakestraw) also specifically affirmed that they could
                consider a sentence less than death (J. Tr. I, 52-53, 148-49; J. Tr. II,
                349-50, 366-67, 488-89; J. Tr. III, 735-36, 987-88; J. Tr. V, 1452-54);

       •        Two of the jurors responded to the automatic death penalty question
                with a question. One (Deering) said, “Automatically?” and the
                other (Byers) said, “Repeat that?” After the trial judge answered
                affirmatively to the first question and repeated the question to the
                second, both stated that they would not automatically impose the death
                penalty. Both of these jurors also stated that they could consider all
                three punishments and that they could consider a sentence less than
                death (J. Tr. II, 433-34; J. Tr. III, 814-15);

       •        One juror (Helzer) responded to the automatic death penalty question
                by saying that she did not believe she could give an honest answer.
                When the trial court followed up with a question about whether she
                could consider a punishment less than death, the juror responded
                affirmatively. Responding to follow-up questions by both the
                prosecution and the defense, this juror affirmed that she would
                “[d]efinitely consider all three [punishment options] and listen to the
                facts,” that she understood that the issue of punishment was an
                individual decision, and that she was a “very strong-willed” person who


       11
         Two of the jurors who were originally empaneled, Gates and Nowak, were removed and
replaced with two alternate jurors, Fleener and Byers, during first stage proceedings (J. Tr. X,
2426-29, 2471-94).

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                  would stand up for what she believed was an appropriate
                  punishment (J. Tr. II, 379, 381, 386); and

          •       One juror (Fleener) verbally analyzed her way through the automatic
                  death penalty question as follows: “Because of murder in the first
                  degree? I mean, you can’t do that, can you? Don’t you have to do it
                  based on - - no, you couldn’t - - I would say no.” This juror also stated
                  that she could consider all three punishments and that she could
                  consider a sentence less than death (J. Tr. III, 782-83).

Under these circumstances, it was not unreasonable for the OCCA to conclude that petitioner

was not prejudiced by the jury selection process. The record supports a conclusion that

petitioner’s jury consisted of jurors who met the Wainwright standard for

qualification. Wainwright, 469 U.S. at 424. For this reason, and the additional reasons set

forth above, the court concludes petitioner is not entitled to relief on his second ground for

relief.

          C.      Ground III: Leg Irons Worn By Petitioner During Trial.

          In his third ground for relief, petitioner asserts that his due process rights were

violated because he was required to wear leg irons during his trial. Petitioner raised this

claim on direct appeal. After directing the trial court to hold an evidentiary hearing on the

issue, the OCCA denied relief. Sanchez, 223 P.3d at 990-95. Respondent asserts that

petitioner is not entitled to relief because he has failed to show that the OCCA’s decision is

contrary to or an unreasonable application of Deck v. Missouri, 544 U.S. 622 (2005).

          From the evidentiary hearing conducted by the trial court, the OCCA made the

following determinations of fact:



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       Counsel for the parties stipulated . . . that [petitioner] wore leg irons around his
       ankles during proceedings before the jury. [Petitioner] testified at the hearing
       that he was also handcuffed during the jury trial, but these claims were vague,
       self-serving, and contradicted by the remaining evidence. [Petitioner’s]
       restraints were obscured from the jury’s view during individual voir dire by
       seating [petitioner] at the end of a table in the Court’s chambers. During
       proceedings in open court, [petitioner’s] leg irons were concealed from the
       jury by the placement of identical black curtains around the prosecution and
       defense tables. Testimony established that [petitioner’s] movements to and
       from the courtroom occurred outside the presence of jurors. A deputy testified
       that every effort was made to conceal [petitioner’s] restraints from jurors at all
       times. The members of the trial jury each testified that they were unaware that
       [petitioner] was wearing any form of restraints during the trial. Most of the
       jurors saw the curtains at the tables, but thought nothing of the matter.

Sanchez, 223 P.3d at 991. Although the OCCA found that petitioner’s restraints violated a

state statute prohibiting a defendant from being “‘tried before a jury while in chains or

shackles,’” id. at 990 (quoting Okla. Stat. tit. 22, § 15 (2001)), the OCCA ultimately

concluded that because the leg irons were not visible, petitioner was not entitled to relief.

               In this case, the District Court certainly encouraged [petitioner] to wear
       a shock sleeve under his clothing. [Petitioner] refused the shock sleeve,
       believing it would prevent his concentration on the trial. [Petitioner] was
       subjected to restraint by leg irons throughout the trial. The evidence before us
       is that every precaution was taken to conceal his restraints from jurors; and no
       trial juror actually viewed him in restraints. We do not condone the District
       Court’s error in ordering [petitioner] restrained in violation of section 15, and
       such restraint will not be permitted without a proper factual record in the
       future. However, [petitioner] has not shown how the District Court’s error had
       any substantial influence on the outcome at trial.

Id. at 995.

       In Deck, 544 U.S. at 624, the Supreme Court addressed “whether shackling a

convicted offender during the penalty phase of a capital case violates the Federal

Constitution.” It concluded as follows:

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       [T]he Constitution forbids the use of visible shackles during the penalty phase,
       as it forbids their use during the guilt phase, unless that use is “justified by an
       essential state interest”—such as the interest in courtroom security—specific
       to the defendant on trial. Holbrook v. Flynn, 475 U.S. 560, 568–569, 106 S.Ct.
       1340, 89 L.Ed.2d 525 (1986); see also Illinois v. Allen, 397 U.S. 337,
       343–344, 90 S.Ct. 1057, 25 L.Ed.2d 353 (1970).

Deck, 544 U.S. at 624 (first emphasis added). Therefore, if a defendant is ordered to wear

visible shackles in front of the jury without demonstrated justification, Deck holds that he

can obtain relief without a showing of actual prejudice. However, relief may nevertheless

be denied if the state can demonstrate that the error was harmless under Chapman v.

California, 386 U.S. 18, 24 (1976). Deck, 544 U.S. at 635.

       The court agrees with respondent that the OCCA’s decision is not contrary to or an

unreasonable application of Deck because petitioner’s leg irons were not visible. “As Deck

makes clear, it is the potential impact on the jury of visible restraints that implicates the

fundamental fairness of a jury trial proceeding.” Ochoa v. Workman, 669 F.3d 1130,

1145 (10th Cir. 2012) (emphasis added). In Ochoa, the Tenth Circuit denied habeas relief

where the shock sleeve worn by the petitioner during trial was not visible to the jury. Id. at

1145-46.

       Despite the evidence received at the state court evidentiary hearing, which

overwhelmingly supports the OCCA’s determination that jurors never saw petitioner’s leg

irons, petitioner nevertheless argues that he is entitled to relief because one juror assumed

that he was restrained. Petition, p. 35. See also Reply, p. 13 (“It is the perception of

shackling that matters most.”). Petitioner additionally asserts that if he were given the ability


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to further develop this claim,12 he could explore, among other things, whether other jurors

assumed he was shackled and whether the shackles affected his relationship with his trial

counsel. Petition, pp. 36-37; Reply, pp. 13-15. These arguments are not well-taken. First

and foremost, petitioner was granted an evidentiary hearing on this claim in state court. At

that hearing, twelve jurors and an alternate juror were questioned individually, and each one

of them testified that they were not aware that petitioner had leg restraints–that they did not

see him in leg restraints nor did they hear any noise from the leg restraints (E.H. Tr. 5/18/09,

10-37). Because Deck concerns visible restraints, the testimony received at the evidentiary

hearing precludes Deck relief, and it is simply irrelevant whether some of the jurors assumed

that he might have been restrained during trial. Regarding petitioner’s suggestion that the

leg irons might have interfered with his attorney-client relationship, the record lacks even a

hint that the leg irons affected his representation. Although petitioner did advise the trial

court that he was dissatisfied with his attorneys, he never asserted that the leg irons were the

cause of their strained relationship (J. Tr. I, 36-46; S. Tr. 6/6/06, 8). In addition, in his

arguments to this court, petitioner has done nothing more than question that the two might

have been related. For these reasons, petitioner’s arguments do not make out a basis for

concluding that the OCCA acted unreasonably in denying petitioner relief, nor do they justify

petitioner’s request for the opportunity to further develop the issue. Habeas relief is not

warranted based on Ground III.


       12
         The court previously denied petitioner’s request to depose all of the jurors for additional
information they may have had as to his restraint during trial. Docs. 24 and 42.

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       D.     Ground IV: Prosecutorial Misconduct.

       In his fourth ground for relief, petitioner asserts that prosecutorial misconduct affected

the fairness and reliability of his sentencing proceeding. Particularly, petitioner complains

about several comments made by the prosecutor during second stage closing argument.

Petitioner raised this claim on direct appeal but was denied relief. Sanchez, 223 P.3d at

1004-06. Respondent argues that this claim should be denied because petitioner has not

shown that the OCCA’s decision is contrary to or an unreasonable application of Supreme

Court law. Respondent is correct.

       Claims regarding improper prosecutorial argument are subjected to due process

review. The question is whether the prosecutor’s comments “so infected the trial with

unfairness as to make the resulting conviction a denial of due process.” Donnelly v.

DeChristoforo, 416 U.S. 637, 643 (1974). As the Supreme Court has acknowledged, “a

criminal conviction is not to be lightly overturned on the basis of a prosecutor’s comments

standing alone, for the statements or conduct must be viewed in context; only by so doing

can it be determined whether the prosecutor’s conduct affected the fairness of the trial.”

United States v. Young, 470 U.S. 1, 11 (1985).

       Petitioner’s first contention is that the prosecutor violated Caldwell v. Mississippi,

472 U.S. 320, 328-29 (1985), wherein the Supreme Court held that “it is constitutionally

impermissible to rest a death sentence on a determination made by a sentencer who has been

led to believe that the responsibility for determining the appropriateness of the defendant’s

death rests elsewhere.” In Caldwell, the prosecutor argued that the jury’s return of a death

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sentence was not final. In particular, the prosecutor told the jury, “Your job is reviewable,”

and “the decision you render is automatically reviewable by the Supreme Court.” Id. at 325-

26.

       Petitioner supports his Caldwell claim with reference to the following comments:

              One thing that I ask that you do, as I go through the evidence, as you
       get back to the jury room to deliberate, is keep in mind the burden that’s on
       your shoulder. Not one of you, no one individually will decide whether this
       man receives the death penalty or not.

               You can’t do that. That’s not the law. No one here, not one of you can
       sentence this man to death. A juror cannot sentence a person to death or life
       or life without the possibility of parole. Only a jury can, a jury of 12 people.

               So if this man receives the death penalty, and that’s what Mr. Sitzman
       and I are going to be asking you to return, if he receives the death penalty, it
       will be because not one, not two, not ten, but twelve people who listened to the
       evidence for two weeks, who listened to the law, made that decision that it was
       appropriate.

              Don’t let anyone - - Ms. Box, Mr. Lyman [defense counsel] - - don’t let
       yourself, don’t let anyone put that burden on your shoulder that it’s your
       decision and your decision alone. That’s too big of a burden. You shouldn’t
       have that burden. The law doesn’t allow you to have that burden. The way
       our system works, 12 people have to return a verdict.

(J. Tr. XV, 3197-98). Although petitioner acknowledges the “technical accuracy” of these

comments, he nevertheless argues that their “import” makes them similar to the ones

condoned in Caldwell because they had the effect of “minimizing individual jurors’ sense

of responsibility.” Petition, p. 40; Reply, p. 16. Petitioner contends that while it is true that

a death sentence requires a unanimous verdict, the prosecutor’s comment that a single juror

could not sentence him to life or life without parole is erroneous because a single juror could


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withhold his or her assent to a death verdict resulting in a hung jury and the imposition of a

life or life without parole sentence. Petition, p. 41. Petitioner additionally asserts that the

comments “effectively told the jury that an individual juror’s sense of morality and mercy

not only did not count, but would be contrary to the law.” Id. at 42.

       In denying petitioner relief, the OCCA found the prosecutor’s comments to be “legally

accurate.” Sanchez, 223 P.3d at 1004. The OCCA additionally found as follows:

               [Petitioner’s] real complaint here is that the prosecutor’s argument
       might have diminished a successful defense based on the fact that in
       Oklahoma, “a single juror has the power to prevent a death sentence in a given
       case.” Malone v. State, 2007 OK CR 34, ¶ 73, 168 P.3d 185, 215. The
       prosecutor’s argument certainly anticipated common capital defense rhetoric
       emphasizing the individual moral responsibility of each juror in voting to
       “kill” the defendant, in the hopes that one or more jurors will hold out against
       a death verdict favored by the others. The fact that a prosecutor anticipates a
       known defense argument and presents a counterpoint is not fundamentally
       unfair. A few pages later in this allegedly improper argument, we find the
       prosecutor telling jurors:

              But, basically, you’ve got three choices. You’ve got one crime, murder
              in the first degree. The defendant has been found guilty of that, and
              you’ve got to decide, does that person receive death, does that person
              receive life in prison without the possibility of parole, or does
              Mr. Sanchez receive a term of life in prison with the possibility of
              parole. Bottom line is if you don’t want to do it, you don’t have to. Read
              all these instructions. They’re very important, none more than any of
              the others. But the bottom line is, you don’t want to, you don’t think it’s
              appropriate, you don’t have to. If you do think it’s appropriate, then
              what Mr. Sitzman read in his opening, the Bill of Particulars, and what
              the Judge has talked about, the aggravating circumstances, become very
              important (emphasis added).

       In the context of the entire argument and in light of other comments, these
       comments were not plain error.



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Sanchez, 223 P.3d at 1004-05. In order to obtain relief, petitioner must show that the

decision by the OCCA is contrary to or an unreasonable application of Caldwell. The court

concludes he has not done so.

       It was reasonable for the OCCA to conclude that the jury was not misled as to its

responsibilities by the arguments of the parties. The prosecutor’s comments were factually

correct–in order to sentence petitioner to any of the punishment options, the jurors had to be

unanimous (O.R. V, 830) (Instruction No. 17: “In the event you assess the death penalty,

your verdict must be unanimous. You may also return a unanimous verdict of imprisonment

for life without the possibility of parole or imprisonment for life with the possibility of

parole.”). Although petitioner is correct in arguing that one or more holdout jurors could

have resulted in a hung jury and caused the imposition of a life or life without parole

sentence, and that the prosecutor did argue against a hung jury, there is no indication that the

prosecutor’s comments belittled the jury’s role in assessing punishment or otherwise misled

them as to their options. This is clear in light of his later comment that the decision was

theirs: “the bottom line is, you don’t want to, you don’t think it’s appropriate, you don’t have

to” (J. Tr. XV, 3199). In addition, defense counsel also discussed the issue with the jury.

Although petitioner asserts that he did not have an opportunity to respond to the prosecutor’s

comments, this is simply incorrect. Petition, p. 43. The comments about which petitioner

complains were made during the prosecution’s first closing argument (J. Tr. XV, 3197-98),

and defense counsel did in fact respond to the comments in his closing argument. While

acknowledging the requirement of a unanimous verdict, defense counsel reminded the jurors

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that it was an important individual decision. He told them that while they should respect the

opinions of their fellow jurors, they should listen to their hearts and stick to what they

believed was the right thing to do (J. Tr. XV, 3218-19, 3220).

       And finally, there is no question that the instructions given accurately stated the

jury’s role in assessing punishment, including (1) the necessity of finding at least one

aggravating circumstance unanimously and beyond a reasonable doubt before imposing a

sentence of death; (2) its consideration of mitigating circumstances, requiring neither

unanimity nor proof beyond a reasonable doubt; (3) the necessity of finding that the

aggravating circumstances outweigh the mitigating circumstances before imposing a sentence

of death; (4) that even if it found that the aggravating circumstances outweighed the

mitigating circumstances, it could nevertheless impose a sentence less than death; and

(5) unlike with its determination of guilt, it could consider sympathy and sentiment in

deciding whether the defendant should be sentenced to death (O.R. V, 823, 826, 827, 830).

Moreover, and of particular importance, the jury was expressly told that its verdict was not

to be one of chance, but one that “rest[s] . . . on the belief of each of you who agrees with

it” (O.R. V, 830). See Weeks v. Angelone, 528 U.S. 225, 234 (2000) (“A jury is presumed

to follow its instructions.”). Under all of these circumstances, the court concludes that

petitioner has not shown the OCCA’s decision to be contrary to or an unreasonable

application of Caldwell.

       Next, petitioner asserts that the prosecutor argued facts not in evidence and used

“[f]ear-[m]ongering” and speculation to inject unconstitutional emotion into the jury’s

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sentencing determination. Petition, pp. 43, 45. The argument to which petitioner objects is

as follows:

               To those who would say, Well, let’s just put him in prison for the rest
       of his natural life, he won’t be a threat to society, prison includes - - or society
       includes prison, that’s the law. He will be in a smaller part of society, but that
       is society.

               You know what they call these when they issue them at the commissary
       at the prison? They call them shoelaces. You know what they call them when
       they’re used later for a not-so-nice purpose? They call it a garrote.

                You know what they call this? It’s an antique letter opener. You know
       what they call it in prison? You call it a shank. You know what they call that
       baseball bat that you check out at the prison gym to play softball with? You
       call it a softball bat. You know what you call it when you use it on another
       person’s head? You call it a club.

(J. Tr. XV, 3229-30). In denying relief, the OCCA found that this argument was both proper

and persuasive as it related to the continuing threat aggravating circumstance because it was

“based on properly admitted evidence of [petitioner’s] use of both ordinary items and

dangerous weapons to subdue and attack innocent people.” Sanchez, 223 P.3d at 1005. The

evidence showed that when the body of Ms. Busken was found, her hands were tied behind

her back with black shoelaces (J. Tr. VIII, 2122-23; State’s Exhibit 18). In addition to this

first stage evidence, evidence was also introduced in the second stage that petitioner raped

his former girlfriend in 2001, and in the course of this offense, he used her own shoelaces to

tie up her hands (J. Tr. XIV, 3021-24). In light of this evidence, the prosecutor’s argument

was reasonable, and the court cannot conclude that the OCCA acted unreasonably in denying

petitioner relief based on this claim.


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      In his third allegation of prosecutorial misconduct, petitioner asserts that the

prosecutor’s multiple references to him as evil constituted impermissible personal opinion

and denied him a fundamentally fair sentencing. Petition, pp. 45-46 (setting forth the

challenged comments). The OCCA denied relief on this claim as follows:

             [Petitioner] next objects to several comments referring to [petitioner]
      and his actions as evil, and stating that some people come to symbolize evil by
      their infamous acts. The prosecutor stated at one point, “This is the
      handiwork—the evil handiwork of a heartless, merciless, pitiless, cruel, and
      depraved executioner.” We see nothing unfair in these comments.
      Premeditated murder has been regarded as the pinnacle of evil in every age,
      and our law reflects this. Blackstone described willful murder as “a crime at
      which human nature starts [i.e., recoils], and which is I believe punished
      almost universally throughout the world with death.” 4 W. Blackstone,
      Commentaries 194. The Oklahoma Uniform Jury Instructions–Criminal define
      the “especially heinous, atrocious, or cruel,” aggravating circumstance with
      reference to how a murderer’s depravity and savagery shock the senses of
      humankind:

             The term “heinous” means extremely wicked or shockingly evil; the
             term “atrocious” means outrageously wicked and vile; and the term
             “cruel” means pitiless, designed to inflict a high degree of pain, or utter
             indifference to or enjoyment of the suffering of others.

      Instruction No. 4–73, OUJI–CR(2d). We see an important distinction between
      a comment on the murderous human evil made relevant by the especially
      heinous, atrocious, or cruel aggravating circumstance, and the rhetorical
      indulgence of calling defendant a monster, a devil, or other inhuman entity.
      The comments here addressed the distinctly human evil involved in this case.
      We will not require counsel in such serious cases to address the jury with
      lifeless and timid recitations void of moral reflection or persuasive power. The
      wickedness of the murder itself, and the convicted murderer’s indifference to,
      or enjoyment of, the suffering of others, were relevant, and the comments here
      were properly based upon the evidence.




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Sanchez, 233 P.3d at 1005 (citations omitted). The OCCA’s treatment of this issue falls far

short of the sort of “extreme malfunction” which this court is empowered to correct. Richter,

131 S.Ct. at 786.

       In order to prove the especially heinous, atrocious, or cruel aggravating circumstance,

the state was required to show beyond a reasonable doubt that the murder was heinous.

Whether a murder is heinous depends on “the facts and circumstances of [the] case,” and the

term heinous was defined for the jury as “extremely wicked or shockingly evil” (O.R. V,

820). The prosecutor’s references to evil related to this burden of proof and were therefore

relevant. It was fair argument for the prosecutor to refer to petitioner as an “evil presence”

and his crime as “the evil handiwork of a heartless, merciless, pitiless, cruel and depraved

executioner” (J. Tr. XV, 3226, 3231). These comments were grounded in the facts and

circumstances of the case, which showed that on a bitter cold morning five days before

Christmas, petitioner abducted an innocent young college student and, after raping and

sodomizing her, shot her in the back of the head in a remote lakeshore area.

       Moreover, while petitioner faults the prosecutor for making references to evil,

respondent has accurately pointed out that defense counsel was actually the first to inject the

notion of evil. Response, p. 60. In closing argument, defense counsel acknowledged that a

death sentence would “eliminate evil” and “extract the punishment that it needs to extract.”

However, because a death sentence would also eliminate the good in petitioner, defense

counsel asked the jury to consider that petitioner was “not the sum total of one day or several

days.” He argued that if the jury returned a death sentence, it would “eliminate the good [in

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petitioner] as well” (J. Tr. XV, 3221, 3222). In these circumstances, the OCCA’s treatment

of the references to “evil” was well within the bounds of the AEDPA.

       Petitioner’s final assertion of prosecutorial misconduct also does not warrant relief.

He asserts that the prosecutor improperly referenced God (and his forgiveness) and that the

OCCA erred in finding that defense counsel opened the door to the argument. Petitioner

additionally contends that the prosecutor’s argument amounts to a Caldwell violation.13 The

OCCA’s determination of this claim is both thorough and well-reasoned. Sanchez, 223 P.3d

at 1005-06. After finding that it was the defense, and not the prosecution, who “interject[ed]

divine reckoning into the sentencing proceeding,” the OCCA ultimately concluded as

follows:

              The prosecutor’s brief personal reflections about the forgiveness of God
       “were no more than an adversarial balance to [petitioner’s] positions on
       religion.” Cole v. State, 2007 OK CR 27, ¶ 57, 164 P.3d 1089, 1101. The
       argument did not, as [petitioner] hyperbolically contends, reassure jurors “that

       13
          Respondent asserts that this Caldwell claim is unexhausted and should be procedurally
barred because petitioner did not raise this claim on direct appeal or in his application for post-
conviction relief. Response, pp. 63-64. Petitioner did not address this issue in his reply. While any
attempt by petitioner to exhaust this claim now would likely result in the application of procedural
bar by the OCCA, it is unnecessary to belabor the point, as the issue may be easily disposed of on
the merits. 28 U.S.C. § 2254(b)(2). The comment at issue was made by the prosecutor in the course
of explaining how he had been able to serve in his role for almost thirty years and ask jurors to
impose the death penalty, which is “something . . . against their human will, against their human
nature, against their very goodness, something unnatural[.]” The prosecutor told the jury that he
was able to do his job because he knew that his God would forgive him (J. Tr. XV, 3232-33).
Although petitioner asserts that this comment suggested to the jurors that if they returned a death
sentence God would forgive them as well, Petition, p. 47, this court, like the OCCA, concludes that
petitioner’s interpretation of the comment is more than a stretch. Sanchez, 223 P.3d at 1005
(“Counsel for [petitioner] reads the prosecutor’s comments imaginatively, at the least.”).
Petitioner’s Caldwell claim fails because he has not “show[n] that [this comment] to the jury
improperly described the role assigned to the jury by local law.” Duggers v. Adams, 489 U.S. 401,
407 (1989).

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       they, too, would be forgiven for imposing the death penalty;” nor did it
       “encourage the jury to follow biblical standards rather than the Court’s
       instructions.” Powell v. State, 2000 OK CR 5, ¶¶ 146–149, 995 P.2d 510,
       538–539.

              Our decisions on this subject serve to warn that a prosecutor who calls
       upon Heaven to witness the State’s cause against the capital defendant will
       needlessly imperil the earthly judgment of the District Court. But the religious
       statements made by counsel for both parties here were brief and insignificant
       in view of the overwhelming evidence of aggravating circumstances, which
       clearly explain the jury’s verdict.

Sanchez, 223 P.3d at 1006. This conclusion is reasonable.

       For the reasons set forth above, the court concludes that petitioner has not

demonstrated a basis for relief based on Ground IV.

       E.       Ground V: Ineffective Assistance of Trial Counsel.

       Petitioner’s fifth ground for relief relates to the effectiveness of his trial counsel. In

two specific complaints,14 petitioner asserts that his trial counsel was ineffective for failing

to (1) produce evidence that someone else, and particularly petitioner’s father, may have

committed the crimes against Ms. Busken, and (2) object to the prosecutor’s second stage

closing argument referenced in Ground IV. Respondent alleges, and petitioner does not

dispute, that his first complaint is unexhausted.          Petitioner’s second complaint was




       14
           In his introduction to this ground for relief, petitioner makes several general and
unsupported statements regarding additional alleged failings of his trial counsel, including the
failure to question how the DNA evidence was handled and examined, failure to present an alibi
defense, and failure to protect petitioner’s rights and provide a vigorous defense. Petition, p. 51.
It is unnecessary to address these bare statements as they are wholly insufficient to plead a
constitutional claim.

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unsuccessfully presented to the OCCA on direct appeal. Sanchez, 223 P.3d at 1012. Neither

complaint warrants relief here.

       As just stated, petitioner’s first complaint was not presented to the OCCA and is

therefore unexhausted. Because the OCCA would refuse to entertain the merits of the claim

due to petitioner’s failure to raise it in his first post-conviction application, respondent asserts

that this court should view it as procedurally barred.15 Response, p. 65. See Lott v.

Trammell, 705 F.3d 1167, 1179 (10th Cir. 2013) (citing Anderson v. Sirmons, 476 F.3d

1131, 1139-40 n.7 (10th Cir. 2007), and applying an anticipatory procedural bar to an

unexhausted claim), cert. denied, ___ U.S. ___, 134 S.Ct. 176 (2013). Petitioner does not

dispute this contention, but instead asserts that he has made a colorable showing of innocence

which permits habeas review of his claim. Reply, pp. 20-21.

       It is clear that a “federal court may nevertheless consider claims subject to an

anticipatory procedural bar . . . if denying review would result in a fundamental miscarriage

of justice because the petitioner has made a ‘credible’ showing of actual innocence.” Frost v.

Pryor, 749 F.3d 1212, 1231 (10th Cir. 2014) (citations omitted). The fundamental

miscarriage of justice exception addresses those rare instances “where the State has convicted

the wrong person of the crime.” Sawyer v. Whitley, 505 U.S. 333, 340 (1992).


       15
         The Tenth Circuit has repeatedly recognized the application of a procedural bar to claims
which could have been raised in an initial post-conviction application but were not. See Bland v.
Sirmons, 459 F.3d 999, 1012 (10th Cir. 2006); Medlock v. Ward, 200 F.3d 1314, 1323 (10th Cir.
2000); Smallwood v. Gibson, 191 F.3d 1257, 1267 (10th Cir. 1999); Moore v. Reynolds, 153 F.3d
1086, 1096-97 (10th Cir. 1998).


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               “[T]he fundamental miscarriage of justice exception seeks to balance
       the societal interests in finality, comity, and conservation of scarce judicial
       resources with the individual interest in justice that arises in the extraordinary
       case.” Schlup v. Delo, 513 U.S. 298, 324, 115 S.Ct. 851, 130 L.Ed.2d
       808 (1995). To make a credible showing of actual innocence, a “petitioner
       must ‘support his allegations of constitutional error with new reliable
       evidence—whether it be exculpatory scientific evidence, trustworthy
       eyewitness accounts, or critical physical evidence—that was not presented at
       trial.’” Cummings, 506 F.3d at 1223 (quoting Schlup, 513 U.S. at 324,
       115 S.Ct. 851). This new evidence “must be sufficient to ‘show that it is more
       likely than not that no reasonable juror would have convicted the petitioner in
       the light of the new evidence.’” Id. (quoting Schlup, 513 U.S. at 327, 115 S.Ct.
       851); accord House, 547 U.S. at 539–40, 126 S.Ct. 2064 (reaffirming the
       Schlup test after AEDPA). This standard is “demanding and permits review
       only in the extraordinary case.” House, 547 U.S. at 538, 126 S.Ct.
       2064 (quotations omitted).

Frost, 749 F.3d at 1231-32.

       Petitioner’s showing here does not come remotely close to establishing a miscarriage

of justice under this standard. His argument completely ignores the fact that his semen was

found in Ms. Busken’s panties, other than to suggest that the presence of his “DNA pattern”

might be explained if his father was the actual perpetrator. Petition, p. 52. This argument,

however, is contrary to the expert evidence presented at trial that petitioner and his father

would not have the exact same DNA (J. Tr. XII, 2750-51). Moreover, the DNA evidence

presented at trial showed more than just a pattern match. Petitioner’s DNA matched the

DNA extracted from two semen deposits (Ms. Busken’s panties and her ballet leotard) at

every one of the sixteen genetic loci tested (State’s Exhibit 106).16 This was a near certain



       16
          The record reflects that the defense conducted its own independent testing of the
evidence (J. Tr. XII, 2746-47).

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match. Sanchez, 223 P.3d at 989-90 (“The State’s DNA expert characterized the probability

of a random DNA match on the Busken evidence with an unrelated individual other than

[petitioner] as 1 in 200.7 trillion Caucasians, 1 in 20.45 quadrillion African Americans, and

1 in 94.07 trillion Southwest Hispanics.”). Because petitioner has not shown that a

fundamental miscarriage of justice will occur if this court refuses to review his first

complaint of trial counsel ineffectiveness,17 the court concludes it is procedurally barred.

       Petitioner’s second complaint, concerning his trial counsel’s failure to object to the

prosecutor’s second stage closing argument, was addressed by the OCCA on the merits on

direct appeal. Referring to its analysis of petitioner’s prosecutorial misconduct claim, the

OCCA stated: “Because we found no prosecutorial misconduct . . . , counsel’s failure to

object to the challenged comments at trial provides no ground for a claim of ineffective

assistance on appeal.” Sanchez, 223 P.3d at 1012. Having also reviewed the underlying

claim of prosecutorial misconduct and found no basis for relief, see Ground IV, supra, the

court concludes that the OCCA’s determination of this issue was reasonable.                 See

Strickland v. Washington, 466 U.S. 668 (1984) (requiring both deficient performance and

prejudice to establish a claim of ineffective assistance of counsel). See also Freeman v.

Attorney General, 536 F.3d 1225, 1233 (11th Cir. 2008) (“A lawyer cannot be deficient for

failing to raise a meritless claim . . . .”); Snow, 474 F.3d at 724-25 (trial counsel was not

ineffective for failing to object to certain evidence that the OCCA found admissible);


       17
         Petitioner’s requests for an investigator and an evidentiary hearing on this issue have
already been denied. Docs. 20 and 43.

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Spears v. Mullin, 343 F.3d 1215, 1249 (10th Cir. 2003) (trial counsel was not ineffective for

failing to object to the giving of a flight instruction where the OCCA found that sufficient

evidence supported the giving of the instruction).

       Petitioner’s fifth ground does not state a basis for habeas relief.

       F.      Grounds VI and X: Ineffective Assistance of Appellate Counsel and the
               Avoiding Arrest Aggravating Circumstance.

       In Ground VI, petitioner asserts that his appellate counsel was ineffective for failing

to raise two issues on direct appeal. One involves the “avoiding arrest” aggravating

circumstance which petitioner has presented as an independent claim in Ground X. The other

involves Petitioner’s absence from a portion of the jury selection process. Petitioner

presented these issues to the OCCA in his post-conviction application but was denied relief.

Sanchez, No. PCD-2006-1011, slip op. at 3-9. Respondent asserts that relief should be

denied on this ground because petitioner has not shown that the OCCA’s decision was

contrary to or an unreasonable application of Supreme Court law.

       Claims regarding the effectiveness of appellate counsel are governed by Strickland.

Milton v. Miller, 744 F.3d 660, 669 (10th Cir. 2014) (citing Smith v. Robbins, 528 U.S. 259,

285 (2000)).    In accordance with Strickland, a petitioner alleging appellate counsel

ineffectiveness must show (1) that his appellate counsel’s actions on appeal were objectively

unreasonable and (2) that, but for counsel’s unreasonable actions, he would have prevailed

on appeal. Robbins, 528 U.S. at 285-86; Miller v. Mullin, 354 F.3d 1288, 1297 (10th Cir.

2004) (quoting Ellis v. Hargett, 302 F.3d 1182, 1186-87 (10th Cir. 2002)). When counsel has


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filed a brief on the merits, it is difficult to show his incompetence for failing to raise a

particular claim. Robbins, 528 U.S. at 288. Appellate counsel does not have an obligation

to raise every possible claim irrespective of its merit. In fact, “the hallmark of effective

appellate advocacy” is the “process of ‘winnowing out weaker arguments on appeal and

focusing on’ those more likely to prevail.” Smith v. Murray, 477 U.S. 527, 536 (1986)

(quoting Jones v. Barnes, 463 U.S. 745, 751-52 (1983)). “This has assumed a greater

importance in an era when oral argument is strictly limited in most courts–often to as little

as 15 minutes–and when page limits on briefs are widely imposed.” Jones, 463 U.S. at 752-

53.

       In order to evaluate appellate counsel’s actions, the omitted issues must be examined.

The Tenth Circuit has provided the following guidance:

       If the omitted issue is so plainly meritorious that it would have been
       unreasonable to winnow it out even from an otherwise strong appeal, its
       omission may directly establish deficient performance; if the omitted issue has
       merit but is not so compelling, the case for deficient performance is more
       complicated, requiring an assessment of the issue relative to the rest of the
       appeal, and deferential consideration must be given to any professional
       judgment involved in its omission; of course, if the issue is meritless, its
       omission will not constitute deficient performance.

Cargle v. Mullin, 317 F.3d 1196, 1202 (10th Cir. 2003) (footnote omitted) (citations

omitted).

       First, petitioner asserts that his appellate counsel should have challenged the avoiding

arrest aggravating circumstance on direct appeal. Specifically, he claims this aggravating

circumstance is invalid because the state alleged three predicate crimes (kidnapping, rape,


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and sodomy) and the record does not show that the jury reached a unanimous agreement with

respect to the particular predicate crime petitioner committed.

        In its denial of this claim on post-conviction, the OCCA rejected outright petitioner’s

assertion that unanimity was required with respect to the predicate crime:

                Petitioner provides no authority in which this Court or the United States
        Supreme Court has held jurors must unanimously find that a capital defendant
        committed a specific predicate crime in connection with a finding that the
        murder was committed for the purpose of avoiding or preventing a lawful
        arrest or prosecution.

Sanchez, No. PCD-2006-1011, slip op. at 8. Then, after setting forth the state law governing

the proof necessary to legally support the avoid arrest aggravating circumstance, id., the

OCCA found that because the evidence supported the jury’s finding of the aggravating

circumstance in petitioner’s case, petitioner’s appellate counsel was not ineffective for failing

to raise this claim on direct appeal.

               The State at trial asserted at least three predicate crimes in support of
        the allegation that Petitioner committed this murder to avoid or prevent a
        lawful arrest or prosecution. We find the evidence sufficiently establishes that
        Petitioner committed several predicate crimes against his victim, including
        forcible rape, anal sodomy, and kidnapping; and murdered her with the intent
        to prevent his identification as the perpetrator. Petitioner presents no
        controlling law requiring that jurors unanimously agree he committed a
        specific predicate crime in connection with its finding of this aggravating
        circumstance. Even if such an assurance were required by law, the jury’s
        unanimous verdicts finding [Petitioner] guilty of forcible rape and anal sodomy
        provide conclusive evidence of unanimity concerning at least two of the
        predicate crimes supporting the aggravating circumstance here. Petitioner fails
        to show either deficient performance in the omission of this claim on direct
        appeal, or the requisite prejudice resulting from counsel’s alleged
        unprofessional error.

Id. at 9.

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       Petitioner has not shown that this determination by the OCCA is contrary to or an

unreasonable application of Strickland or of the applicable law generally.18 Although

petitioner continues to assert that Oklahoma law requires unanimity as to the specific

predicate crime, petitioner cites no more authority than what he presented to the OCCA, and

the cases cited by petitioner simply do not support the assertion he makes.19 In addition, as

the OCCA held, because the jury returned unanimous verdicts in the first stage finding

petitioner guilty of both rape and sodomy, the predicate crime for the avoiding arrest

aggravating circumstance is amply supported. Therefore, it is clear that had petitioner’s

appellate counsel raised this claim on direct appeal, it would not have been successful.

Accordingly, petitioner’s challenge to this aspect of his appellate counsel’s representation

fails. In addition, for the same reasons, the court also denies habeas relief based on

petitioner’s related claim in Ground X.




       18
          Petitioner concedes the federal constitution does not impose a jury unanimity requirement.
Petition, p. 86 (citing Johnson v. Louisiana, 406 U.S. 356 (1972)).
       19
          The two state cases cited by petitioner are Primeaux v. State, 88 P.3d 893, 909 (Okla.
Crim. App. 2004), and Phillips v. State, 641 P.2d 556, 559 (Okla. Crim. App. 1982), and neither
hold that unanimity is required as to the specific predicate crime for the avoiding arrest aggravating
circumstance. Petition, pp. 86-87. From these cases, which address the evidence sufficient to
support a conviction when alternative theories of murder are charged, petitioner argues that if the
evidence in his case supported all of the predicate crimes alleged by the state, then the jury’s finding
of the avoiding arrest aggravating circumstance would be valid, but because petitioner contends
that the evidence was insufficient to support his rape conviction, the avoiding arrest aggravating
circumstance cannot stand. Regardless of whether petitioner’s legal argument based on Primeaux
and Phillips is faulty, it fails on another basis as well–the OCCA specifically and correctly held on
direct appeal that petitioner’s rape conviction was supported by constitutionally sufficient evidence.
Sanchez, 223 P.3d at 1002-03.

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       Petitioner’s second complaint as to his appellate counsel’s performance is the failure

to assert a claim regarding petitioner’s absence from initial voir dire proceedings. The record

reflects that, prior to conducting individual voir dire, the trial court gave the entire jury

pool (120 prospective jurors) a brief orientation. The orientation covered such general topics

as their civic duty, the importance of being on time, the role of the bailiffs, where they should

park, where the restrooms and vending machines were located, the necessity of being truthful

during questioning, the avoidance of outside influence and/or publicity, and the individual

voir dire schedule and procedure. The trial court conducted the entire orientation, and the

jurors were not questioned about their qualifications to serve. The apparent reason for

petitioner’s absence from this orientation was his objection to be restrained during

trial (J. Tr. I, 18-46).20 Petitioner asserts that he had a constitutional right to be present for

the orientation and that his absence was structural error. He therefore contends that had

appellate counsel raised the claim on direct appeal, he would have obtained relief.

       In Snyder v. Massachusetts, 291 U.S. 97, 105-106 (1934), overruled in part on other

grounds by Malloy v. Hogan, 378 U.S. 1, 84 S.Ct. 1489, 12 L.Ed.2d 653 (1964), the Supreme

Court held that a defendant “has the privilege under the Fourteenth Amendment to be present

in his own person whenever his presence has a relation, reasonably substantial, to the fullness

of his opportunity to defend against the charge.” Thus, the right is not absolute, and it is not



       20
          The orientation was the only portion of trial proceedings which petitioner missed.
Petitioner voluntarily appeared by the start of individual voir dire and was present for the
remainder of the trial.

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automatically infringed when a defendant is absent from some portion of the proceedings.

Bland, 459 F.3d at 1020-21. A due process violation occurs only when “a fair and just

hearing would be thwarted by his absence . . . .” Snyder, 291 U.S. at 108. See also United

States v. Gagnon, 470 U.S. 522, 526 (1985) (quoting Snyder). There is no violation where

a defendant’s “presence would be useless, or the benefit but a shadow.” Snyder, 291 U.S.

at 106-07. The determination of whether a defendant’s absence violates due process requires

consideration of the whole record. Gagnon, 470 U.S. at 526-27.

       In concluding that appellate counsel was not ineffective for failing to raise this claim,

the OCCA found that petitioner’s refusal to attend the orientation did not entitle him to relief.

       We have repeatedly held that a defendant waives the right to be present at trial
       by his voluntary absence from the proceedings. Clark v. State, 1986 OK
       CR 65, ¶ 9, 718 P.2d 375, 377. Petitioner’s legal remedy against the District
       Court’s shackling order was to appeal his conviction if subjected to a trial in
       shackles, not to refuse to attend the trial itself.

Sanchez, No. PCD-2006-1011, slip op. at 6. The OCCA additionally held as follows:

               Petitioner has not shown the deficient performance or prejudice
       necessary for a violation of the right to effective appellate counsel. He was
       voluntarily absent from trial and waived his right to be present. Even if
       Petitioner had been erroneously excluded from this part of the trial, he could
       not show this exclusion impaired his ability to defend himself on the merits.
       He was not denied the right to confront witnesses, to give material testimony
       in his defense, or assist his counsel at a critical stage of the trial. The
       proceedings from which Petitioner absented himself were clearly “too
       inconsequential to the ‘fullness of his opportunity to defend against the charge’
       to raise to a level of a due process violation.” Gregg, ¶ 26, 844 P.2d at 877,
       quoting Snyder, 291 U.S. at 105-06, 54 S.Ct at 332. Because this claim is not
       supported by the facts or case law, omission of this issue from the direct appeal
       was objectively reasonable.



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Id. at 7. In denying petitioner relief on this claim, the OCCA correctly applied Strickland and

Snyder and reached a reasonable result.

       Habeas relief is not warranted based on claimed deficiencies in the performance of

appellate counsel.

       G.     Ground VII: Fourth Amendment Claim.

       Petitioner’s Ground VII is a Fourth Amendment challenge to the seizure of his DNA.

As set forth in the OCCA’s direct appeal opinion, petitioner’s DNA was collected by the

Oklahoma Department of Corrections while petitioner was serving a prison sentence for

second degree burglary. By state statute, the collection was authorized because petitioner

had been convicted of a felony offense. Petitioner’s DNA profile was maintained in the

state’s Combined DNA Index System (CODIS), and petitioner was linked to Ms. Busken’s

murder when “[his] DNA profile . . . generated a hit on the unknown DNA profile associated

with [Ms. Busken’s] murder.” Sanchez, 223 P.3d at 989, 997-98.

       In response to this claim, respondent asserts consideration of it is precluded by

Stone v. Powell, 428 U.S. 465 (1976). In Stone, the Supreme Court held “that where the

State has provided an opportunity for full and fair litigation of a Fourth Amendment claim,

a state prisoner may not be granted federal habeas corpus relief on the ground that evidence

obtained in an unconstitutional search or seizure was introduced at his trial.” Stone, 428 U.S.

at 494 (footnote omitted). Because this issue was litigated in the trial court and on direct

appeal, respondent argues that the parameters of Stone have been satisfied. Response,

pp. 80-81. In his reply, petitioner does not challenge respondent’s contention. In fact, he

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“concedes that the consideration of [this ground for relief] is foreclosed by Stone . . . .”

Reply, p. 25.

       Given petitioner’s concession, no further discussion is necessary.21 Petitioner’s

Ground VII does not state a basis for relief.

       H.       Grounds VIII and XI: Continuing Threat Aggravating Circumstance.

       In Grounds VIII and XI, petitioner challenges the continuing threat aggravating

circumstance, one of the three aggravating circumstances supporting the jury’s death verdict.

In Ground VIII, petitioner argues that certain evidence should not have been admitted as

proof of this aggravating circumstance. In Ground XI, petitioner challenges the

constitutionality of the aggravating circumstance, claiming it lacks the required narrow

tailoring. Petitioner presented these challenges on direct appeal. The OCCA denied relief.

Sanchez, 223 P.3d at 1003-04, 1006-11. Respondent contends that relief must be denied as

to both grounds because petitioner has failed to show that the OCCA’s determination of these

issues was contrary to or an unreasonable application of Supreme Court law. The court

agrees.

       Petitioner’s evidentiary challenge concerns evidence that he raped a former girlfriend.

He contends that because the rape charge was dropped as part of a plea agreement, the state

should not have been permitted to rely on it in support of the continuing threat aggravating

       21
          However, the court notes the Supreme Court’s recent decision in Maryland v. King,
569 U.S. ___, 133 S.Ct. 1958 (2013). In King, the Supreme Court found that Maryland’s collection
of DNA from arrestees “can be considered part of a routine booking procedure.” Because it is
similar to fingerprinting and photographing, it is “a legitimate police booking procedure that is
reasonable under the Fourth Amendment.” Id. at 1980.

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circumstance. Although petitioner acknowledges that “it is not unusual for unadjudicated

offenses to be present [sic] in the punishment phase of capital trials,” he asserts that the

because the rape charge was dismissed as part of a plea agreement, it was actually an

adjudicated offense. Petition, p. 78 (emphasis added).

       In denying petitioner relief, the OCCA held in pertinent part as follows:

              Our prior decisions indicate the State may prove the continuing threat
       aggravating circumstance “through the introduction of Judgments and
       Sentences showing a history of violent criminal behavior or through the
       introduction of additional evidence detailing the defendant’s participation in
       other unrelated crimes, or both.” Malone v. State, 1994 OK CR 43, ¶ 39,
       876 P.2d 707, 717–18. We have long recognized that “unadjudicated offenses
       linked to a defendant in a capital case may be introduced to support the claim
       of future dangerousness.” Walker v. State, 1986 OK CR 116, ¶ 46, 723 P.2d
       273, 285. The State’s decision to enter into a plea bargain with a defendant, or
       even dismiss charges based on the defendant’s violent actions, has no bearing
       on whether the underlying violent conduct is admissible to prove future
       dangerousness. Walker v. State, 1992 OK CR 10, ¶ 20, 826 P.2d 1002, 1007
       (State’s subsequent dismissal of pending rape charge did not affect
       admissibility of underlying criminal acts offered to prove continuing threat
       aggravating circumstance); Vega v. Johnson, 149 F.3d 354, 359 (5th Cir.1998)
       (testimony by victim that defendant committed unadjudicated sexual assault
       was admissible to prove future dangerousness in capital sentencing, despite
       acquittal of a related gun possession charge connected to the assault).

               A defendant’s conviction or acquittal of a criminal charge neither alters
       the basic evidentiary facts of the underlying conduct, nor determines whether
       those facts may be offered to show his future dangerousness in a capital
       sentencing trial. Relevant evidence of a capital defendant’s violent acts is
       admissible to show the existence of the continuing threat aggravating
       circumstance, whether those acts resulted in a conviction of the actual offense,
       some related or lesser included offense, or no conviction at all. Cf. Smith v.
       State, 2007 OK CR 16, ¶ 78, 157 P.3d 1155, 1178. [Petitioner’s] sexual assault
       of an ex-girlfriend in 2001, almost five years after the murder of Juli Busken,




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       and his resulting second degree burglary conviction, were relevant to the jury’s
       consideration of this aggravating circumstance.

Sanchez, 223 P.3d at 1003-04. Petitioner’s scant argument and citation to authority have not

shown that this decision by the OCCA was contrary to or an unreasonable application of

Supreme Court law. It was reasonable for the OCCA to conclude that the challenged

evidence was both relevant and admissible in the determination of whether petitioner was a

continuing threat to society. See Wilson, 536 F.3d at 1110 (proof of the continuing threat

aggravating circumstance requires a “show[ing] that a particular defendant has a pattern of

criminal conduct likely to continue in the future” and “[t]he state may introduce evidence of

both adjudicated, and unadjudicated, conduct”).

       Regarding petitioner’s constitutional challenge to the continuing threat aggravating

circumstance, the court concludes it should be denied as well. On direct appeal, the OCCA

addressed a much more expansive argument than petitioner presents here, but the end result

was a finding that the continuing threat aggravating circumstance is constitutionally

sufficient. Sanchez, 223 P.3d at 1006-11. In pertinent part, the OCCA concluded:

             We find the continuing threat aggravating circumstance is consistent
       with both traditional and modern standards of decency as reflected in the
       Supreme Court’s decisions. The incapacitation rationale and the statutory
       language of the aggravating circumstance contain a common-sense core of
       meaning that criminal juries are capable of understanding. Future
       dangerousness is historically and logically relevant to whether a convicted
       murderer should suffer the extreme penalty. The continuing threat aggravating
       circumstance therefore narrows the class of convicted murderers eligible for
       the death penalty in a meaningful way, and when combined with other




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       procedural safeguards in the Oklahoma statutes, sufficiently minimizes the risk
       of a wholly arbitrary death sentence for first degree murder.

Id. at 1011.

       In order to satisfy the Eighth Amendment, an aggravating circumstance must meet two

requirements: (1) it may not apply to every defendant convicted of murder; and (2) it may

not be unconstitutionally vague. Tuilaepa v. California, 512 U.S. 967, 972 (1994). In

petitioner’s case, the jury was instructed that the continuing threat aggravating circumstance

required finding beyond a reasonable doubt “that [petitioner’s] behavior has demonstrated

a threat to society” and “a probability that this threat will continue to exist in the

future” (O.R. V, 822). Petitioner has not shown that this aggravating circumstance violates

the Tuilaepa standard for constitutionality, and given that the Tenth Circuit has repeatedly

upheld this aggravating circumstances in light of numerous constitutional challenges, the

court declines petitioner’s invitation to reconsider the issue. See Wilson, 536 F.3d at

1109 (“We have repeatedly upheld the constitutionality of this aggravator.”); Brown v.

Sirmons, 515 F.3d 1072, 1092 (10th Cir. 2008) (“We have repeatedly upheld the

constitutionality of this aggravating factor, finding it neither unconstitutionally vague nor

overbroad.”); Sallahdin v. Gibson, 275 F.3d 1211, 1232 (10th Cir. 2002) (“Tenth Circuit

precedent forecloses Sallahdin’s argument that Oklahoma’s application of the continuing

threat aggravator is unconstitutional.”); Medlock, 200 F.3d at 1319 (“Our Circuit has

repeatedly upheld the facial constitutionality of [the continuing threat aggravator] as

‘narrowed’ by the State of Oklahoma, and we are bound by that body of precedent.”).


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       For the foregoing reasons, the court concludes that petitioner’s Grounds VIII and XI

do not warrant habeas relief.

       I.     Ground IX: Mitigating Circumstances Instruction.

       In his ninth ground for relief, petitioner asserts that the trial court gave a uniform jury

instruction which prevented the jury from considering all of his mitigating evidence as

mandated by Lockett, 438 U.S. at 604. Petitioner raised this claim on direct appeal but was

denied relief. Sanchez, 223 P.3d at 1011. Respondent asserts that petitioner has failed to

demonstrate that the rejection of this claim by the OCCA is contrary to or an unreasonable

application of Supreme Court law. In particular, respondent argues that the OCCA’s decision

is “entirely consistent with the Supreme Court’s reasoning in Boyde [v. California, 494 U.S.

370 (1990)].” Response, p. 90.

       In Lockett, the Supreme Court held that “the Eighth and Fourteenth Amendments

require that the sentencer, in all but the rarest kind of capital case, not be precluded from

considering, as a mitigating factor, any aspect of a defendant’s character or record and any

of the circumstances of the offense that the defendant proffers as a basis for a sentence less

than death.” Lockett, 438 U.S. at 604 (footnotes omitted). Contrary to this holding,

petitioner contends that his jury was given a definition of mitigating circumstances which

limited its consideration of his mitigating evidence. The instruction in question is Instruction

No. 13, and the portion of the instruction which petitioner takes issue with is as follows:

“Mitigating circumstances are those which, in fairness, sympathy, and mercy, may extenuate

or reduce the degree of moral culpability or blame” (O.R. V, 826). Petitioner contends that

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this language prevented the jury “from considering evidence of his character and record.”

Petition, p. 84.

       In denying petitioner relief, the OCCA relied on its decision in Harris v. State,

164 P.3d 1103 (Okla. Crim. App. 2007). Sanchez, 223 P.3d at 1011. In Harris, the OCCA

addressed the same issue raised in petitioner’s case, and while the OCCA rejected the

argument that “the current uniform jury instruction prohibits jurors from considering

mitigating evidence[,]” Harris, 164 P.3d at 1113, it nevertheless acknowledged that there had

been instances where prosecutors had played upon the language of the instruction in an

attempt to limit a jury’s consideration of a defendant’s mitigating evidence.22

              This Court is troubled . . . by the consistent misuse of the language in
       this instruction in the State’s closing arguments. This Court noted in
       Frederick v. State that the prosecutor could argue mitigating evidence did not
       reduce a defendant’s moral culpability or blame. However, we did not intend
       to suggest that prosecutors could further argue that evidence of a defendant’s
       history, characteristics or propensities should not be considered as mitigating
       simply because it does not go to his moral culpability or extenuate his guilt.
       This would be an egregious misstatement of the law on mitigating evidence.

Id. at 1114 (footnote omitted). Consequently, in an effort to “clarify” the instruction and to

“discourage improper argument[,]” the OCCA determined that the instruction should be




       22
         The OCCA specifically referenced the Tenth Circuit’s decision in Le v. Mullin, 311 F.3d
1002 (10th Cir. 2002). Harris, 164 P.3d at 1113 n.38, 1114 n.41. After detailing established
precedent on a defendant’s right to present mitigating evidence, the OCCA stated its agreement
“with the Tenth Circuit’s conclusion that any attempt to limit a jury’s consideration of mitigating
evidence only to that evidence which may make a defendant less guilty, or the crime less horrible,
is unconstitutional. This is true whether the attempted limitation occurs through instruction or
argument.” Id. at 1113 (footnote omitted).

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amended.23 Id. Despite the amendment, however, the OCCA denied relief in petitioner’s

case, just as it did in Harris.24 Sanchez, 223 P.3d at 396 (“Based on our treatment of the issue

in Harris, [petitioner] has not shown plain error in the District Court’s use of the

instruction.”).

       In Boyde, the Supreme Court addressed the very claim raised by petitioner here, i.e.,

an Eighth Amendment claim that jury instructions prevented the jury from considering his

“non-crime-related” mitigation evidence. Boyde, 494 U.S. at 372, 375, 377-378. In Boyde,

the Supreme Court determined that the claim should be reviewed under the following

standard: “whether there is a reasonable likelihood that the jury has applied the challenged

instruction in a way that prevents the consideration of constitutionally relevant evidence.”

Id. at 380. The Court explained:

       Although a defendant need not establish that the jury was more likely than not
       to have been impermissibly inhibited by the instruction, a capital sentencing
       proceeding is not inconsistent with the Eighth Amendment if there is only a
       possibility of such an inhibition. This “reasonable likelihood” standard, we
       think, better accommodates the concerns of finality and accuracy than does a
       standard which makes the inquiry dependent on how a single hypothetical
       “reasonable” juror could or might have interpreted the instruction. There is, of
       course, a strong policy in favor of accurate determination of the appropriate


       23
          Thereafter, and in accordance with the language proposed in Harris, 164 P.3d at 1114,
the instruction, OUJI-CR (2d) 4-78, was amended in pertinent part as follows: “Mitigating
circumstances are 1) circumstances that may extenuate or reduce the degree of moral culpability
or blame, or 2) circumstances which in fairness, sympathy or mercy may lead you as jurors
individually or collectively to decide against imposing the death penalty.”
       24
         In Harris, the OCCA found that one of the prosecutors made improper argument with
regard to the jury’s consideration of the defendant’s mitigating evidence; however, the OCCA
concluded that the error was harmless due to legally accurate comments made by a second
prosecutor in final closing argument as well as the instructions given. Harris, 164 P.3d at 1113-14.

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       sentence in a capital case, but there is an equally strong policy against retrials
       years after the first trial where the claimed error amounts to no more than
       speculation. Jurors do not sit in solitary isolation booths parsing instructions
       for subtle shades of meaning in the same way that lawyers might. Differences
       among them in interpretation of instructions may be thrashed out in the
       deliberative process, with commonsense understanding of the instructions in
       the light of all that has taken place at the trial likely to prevail over technical
       hairsplitting.

Id. at 380-81 (footnote omitted).

       In Boyde, the Supreme Court found that no Eighth Amendment violation occurred

because the instruction itself was not limiting as the defendant suggested, and in light of

other instructions given, it was “improbable that jurors would arrive at an interpretation that

precludes consideration of all non-crime-related evidence.” Id. at 382-83. The Court also

found that given all of the mitigating evidence presented by the defense, it was “unlikely that

reasonable jurors would believe the court’s instructions transformed all of this ‘favorable

testimony into a virtual charade.’” Id. at 383 (quoting California v. Brown, 479 U.S. 538,

542 (1987)). And finally, the Supreme Court referenced the arguments made by the parties.

Although the prosecutor had argued against the weight of the defendant’s mitigating

evidence, he never suggested that it should not be considered. In addition, defense counsel

“stressed a broad reading” of the mitigation instruction. Id. at 384-86. In light of all of these

circumstances, the Supreme Court “conclud[ed] there [was] not a reasonable likelihood that

the jurors . . . understood the challenged instructions to preclude consideration of relevant

mitigating evidence . . . .” Id. at 386. See also Ayers v. Belmontes, 549 U.S. 7, 12-24 (2006)

(applying Boyde and Brown v. Payton, 544 U.S. 133 (2005), and finding no Eighth


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Amendment violation); Payton, 544 U.S. at 141-47 (applying Boyde and finding no Eighth

Amendment violation).

       As in Boyde, the circumstances in petitioner’s case support the OCCA’s denial of

relief. First, examining the instructions as a whole, it is improbable that the jury failed to

consider all of petitioner’s mitigation evidence. Instruction No. 12 advised the jury that

petitioner had presented evidence of mitigating circumstances, and it specifically listed the

following as mitigating circumstances: (1) his age; (2) his character; (3) his emotional/family

history; and (4) that his life has value and meaning to others. In addition to this list, this

same instruction told the jury that it “may decide that other mitigating circumstances exist,

and if so, [it] should consider those circumstances as well” (O.R. V, 825). Instruction No. 13

also stated that “[t]he determination of what circumstances are mitigating is for you to

resolve under the facts and circumstances of this case,” and the jury was advised by

Instruction No. 17 that it “may consider sympathy or sentiment for the defendant in deciding

whether to impose the death penalty[]” (O.R. V, 826, 830).

       Second, it is simply unreasonable to conclude that the single sentence complained of

by petitioner caused the jury to put aside the testimony of the nine witnesses (five relatives,

two former teachers, and two friends) presented by petitioner in the second stage. To do so,

the jury “would have had to believe that the penalty phase served virtually no purpose at

all.” Payton, 544 U.S. at 144.

       And third, the closing arguments made by the parties in the second stage are consistent

with a conclusion that the jury was not misled regarding its consideration of petitioner’s

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mitigating evidence. Urging the jury to be fair, sympathetic, and merciful (as per Instruction

No. 13), defense counsel argued that petitioner’s life had meaning as demonstrated by the

witnesses presented on petitioner’s behalf, and he requested that the jury return a sentence

of life without parole because petitioner “is more than the sum total of one day” (J. Tr. XV,

3219-20, 3221, 3222-24). In response, the prosecutor asserted:

               Mitigation. You have been presented a list of witnesses who appeared
       before you yesterday to offer you what the defense hopes you will find is
       mitigating, a reason to find that [petitioner] is different and should deserve to
       live, despite what he has done.

       ....

             What this all boils down to - - what this is all boils down to, as [defense
       counsel] indicated, is that it all boils down to mercy, a plea to you for mercy.

       ....

              And so what it gets down to is mercy.

(J. Tr. XV, 3227, 3231).

       In light of these circumstances, the court agrees with respondent that the OCCA’s

denial of relief in petitioner’s case was consistent with the Supreme Court’s decision in

Boyde. Petitioner’s Ground IX does not state a basis for relief.

       J.     Ground XII: Cumulative Error.

       In his final ground, petitioner asserts that he is entitled to relief based on a claim of

cumulative error. Petitioner unsuccessfully raised a cumulative error claim with the OCCA

on direct appeal and in his application for post-conviction relief. Sanchez, No. PCD-2006-

1011, slip op. at 10; Sanchez, 223 P.3d at 1013. Respondent’s initial contention is that the

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absence of Supreme Court authority on the viability of a claim of cumulative error prevents

relief. However, respondent additionally asserts that petitioner’s claim fails because the

OCCA found only one harmless error.

       It is unnecessary to address respondent’s initial contention, as the court concludes

there are no errors here to “cumulate” under any theory. Respondent correctly notes that the

OCCA found only one error and that was in the trial court’s decision to shackle petitioner

during trial contrary to state law. The OCCA ultimately determined that error to be harmless.

This court has likewise found that petitioner is not entitled to relief on that claim. See

Ground III, supra. Further, no other errors or grounds for relief have been established here.

In these circumstances, petitioner’s Ground XII affords no basis for relief. See Hooks v.

Workman, 689 F.3d 1148, 1195 (10th Cir. 2012) (cumulative error analysis is required “only

if there are at least two errors”).

                                      V. Conclusion.

       Having rejected petitioner’s grounds for relief, his petition for a writ of habeas

corpus [Doc. #25] is DENIED. Judgment will enter accordingly.

       IT IS SO ORDERED.

       Dated this 17th day of February, 2015.




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